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                    EXHIBIT 5
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                                                                       Page 1
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


                         CASE NO. 15-CV-07433-RWS


       ------------------------------------------x
       VIRGINIA L. GIUFFRE,


                                     Plaintiff,
       v.
       GHISLAINE MAXWELL,
                                     Defendant.


       -------------------------------------------x


                                     May 18, 2016
                                     9:04 a.m.


                      C O N F I D E N T I A L
             Deposition of JOHANNA SJOBERG, pursuant
             to notice, taken by Plaintiff, at the
             offices of Boies Schiller & Flexner, 401
             Las Olas Boulevard, Fort Lauderdale, Florida,
             before Kelli Ann Willis, a Registered
             Professional Reporter, Certified Realtime
             Reporter and Notary Public within and
             for the State of Florida.




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                                                                       Page 2
  1    A P P E A R A N C E S:
  2    BOIES SCHILLER & FLEXNER, LLP
       Attorneys for Plaintiff
  3            401 East Las Olas Boulevard
               Fort Lauderdale, Florida   33301
  4    BY:     SIGRID S. McCAWLEY, ESQ. and
               MEREDITH SCHULTZ, ESQ.
  5
  6    HADDON MORGAN & FOREMAN, P.C.
       Attorneys for Defendant
  7            150 East 10th Avenue
               Denver, Colorado 80203
  8    BY:     LAURA A. MENNINGER, ESQ.
  9
 10    SINCLAIR LOUIS & ZAVERTNIK, P.A.
       Attorneys for Deponent
 11            40 NW Third Street
               Suite 200
 12            Miami, Florida   33128
       BY:     MARSHALL DORE LOUIS, ESQ.
 13
 14
 15    ALSO PRESENT:      Ryan Kick, Videographer
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25




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                                                                       Page 4
  1                 THE VIDEOGRAPHER:         We are now on the
  2          record.     This is begins Videotape No. 1 in the
  3          deposition of Johanna Sjoberg, in the matter of
  4          Virginia Giuffre versus Ghislaine Maxwell.
  5                 Today is May 18th, 2016.         The time is
  6          9:04 a.m.     This deposition is being taken at
  7          401 East Las Olas Boulevard, Fort Lauderdale,
  8          Florida.
  9                 The videographer is Ryan Kick.          The court
 10          reporter is Kelli Ann Willis.           We both
 11          represent Magna Legal Services.
 12                 Will counsel and all parties present state
 13          their appearance and whom they represent.
 14                 MS. McCAWLEY:      Yes.    I'm Sigrid McCawley,
 15          with the law firm of Boise Schiller & Flexner,
 16          and I represent Virginia Giuffre.            And I have
 17          here two colleagues of mine, Meredith Schultz
 18          and Sandra Perkins, from my firm as well.
 19                 MS. MENNINGER:      Hi.    I'm Laura Menninger
 20          from Haddon Morgan & Foreman, and I represent
 21          Ghislaine Maxwell.
 22                 MR. LOUIS:     I'm Dore Louis from Sinclair
 23          Louis & Zavertnik.        I'm here on behalf of the
 24          deponent.
 25    Thereupon:




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                                                                       Page 5
  1                           JOHANNA SJOBERG
  2    a witness named in the notice heretofore filed,
  3    being of lawful age and having been first duly
  4    sworn, testified on her oath as follows:
  5                        E X A M I N A T I O N
  6    BY MS. McCAWLEY:
  7           Q.    Good morning, Johanna.        Thank you for
  8    coming.     I'm going to talk to you a little bit about
  9    the deposition process before we get started to make
 10    sure you understand what's going to happen here
 11    today.
 12                 You just heard there's a videographer, and
 13    he's going to be taking your video during this
 14    deposition and generally what's happening in the
 15    course of the deposition.
 16                 And then you have a court reporter here
 17    who takes down the words that we say.            And it's a
 18    little bit tricky because I tend to speak quickly
 19    sometimes and speak over people, and she needs to
 20    get down all of the words.         So I'll try to do my
 21    best to go slower and make sure I'm not talking over
 22    you.
 23                 And, similarly, if you've got an answer to
 24    a question, make sure that you're verbally
 25    responding, not just nodding or making a gesture




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                                                                       Page 6
  1    because she can't get that down.           We want to make
  2    sure our responses are verbal.            I'll try to remind
  3    you of that if that happens.
  4                 Have you ever been deposed before?
  5          A.     No.
  6          Q.     No.     Okay.
  7                 So what's going to happen is I'm going to
  8    ask questions, and you'll give answers.             And like I
  9    said, everybody will be recording those.
 10                 Is there any reason, any medical reason,
 11    anything you've taken today that would cause you to
 12    not to be able to give truthful testimony today?
 13          A.     No.
 14          Q.     No.   Okay.
 15                 All right.      So we're going to get started,
 16    and if you have any questions during the deposition
 17    or you need to stop to take a break, you can just
 18    let me know and we'll take that break.
 19                 So what I -- the only thing I ask is if
 20    we're in the midst of a question, you finish the
 21    answer before we take a break.
 22          A.     Sure.
 23          Q.     But I'll try to make sure that I take
 24    regular breaks, as well.
 25                 You stated your name for the record.               Can




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                                                                       Page 7
  1    you tell me your date of birth?
  2
  3          Q.     That makes you how old now?
  4
  5          Q.     Okay.   And where are you currently living?
  6
  7          Q.     And I'm going to show you what I'm going
  8    to mark as the first two exhibits in the matter.
  9    And I'm going to ask the court reporter if I can
 10    mark those.
 11                 (The referred-to document was marked by
 12          the court reporter for Identification as
 13          Sjoberg Exhibits 1 and 2.)
 14    BY MS. McCAWLEY:
 15          Q.     Okay.   I'm going to show you what I'm
 16    marking as Exhibit 1.        It's going to be the
 17    re-notice of your videotaped deposition, which is
 18    simply a notice I'm going to show you.             And then
 19    Exhibit 2 is the subpoena that we served on you.
 20                 So you're here today pursuant to our
 21    Notice of Deposition and the subpoena that we served
 22    on you.
 23                 Are you familiar with the subpoena?           Have
 24    you seen that document before?
 25          A.     Yes.




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                                                                       Page 8
  1          Q.     Okay.   Great.
  2                 All right.     Do you know a female by the
  3    name of Ghislaine Maxwell?
  4          A.     Yes.
  5          Q.     And when did you first meet Ms. Maxwell?
  6          A.     2001.   March probably.       End of
  7    February/beginning of March.
  8          Q.     And how did you meet her?
  9          A.     She approached me while I was on campus at
 10    Palm Beach Atlantic College.
 11          Q.     And what happened when she approached you?
 12          A.     She asked me if I could tell her how to
 13    find someone that would come and work at her house.
 14    She wanted to know if there was, like, a bulletin
 15    board or something that she could post, that she was
 16    looking for someone to hire.
 17          Q.     And what did you discuss with her?
 18          A.     I told her where she could go to -- you
 19    know, to put up a listing.         And then she asked me if
 20    I knew anyone that would be interested in working
 21    for her.
 22          Q.     Did she describe what that work was going
 23    to be?
 24          A.     She explained that she lived in Palm Beach
 25    and didn't want butlers because they're too stuffy.




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                                                                        Page 9
  1    And so she just liked to hire girls to work at the
  2    house, answer phones, get drinks, do the job a
  3    butler would do.
  4           Q.    And did she tell you what she would pay
  5    for that kind of a job?
  6           A.    At that moment, no, but later in the day,
  7    yes.
  8           Q.    And what did she say?
  9           A.    Twenty dollars an hour.
 10           Q.    Was there anybody else with Ms. Maxwell
 11    when you met her?
 12           A.    There was another woman with her.           I don't
 13    recall her or what she looks like or how old she
 14    was.
 15           Q.    And what happened next?
 16           A.    And then she asked me if I would be
 17    interested in working for her.            And she told me that
 18    she was -- I could trust her and that I could jump
 19    in her car and go check out the house at that moment
 20    if I wanted.
 21                 And so I said, Sure, let's do it, and went
 22    to her home with her.
 23           Q.    And where was that home?
 24           A.    In Palm Beach.
 25           Q.    And did she describe that home as being




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                                                                    Page 10
  1    her home?
  2           A.     She described it as being her home and
  3    alluded to the fact that it was her and Jeffrey's
  4    home and that she had homes all over the world.
  5    Yes.
  6           Q.     And what happened when you arrived at the
  7    home?
  8           A.     I believe she just showed me around.
  9           Q.     Do you recall meeting anybody at the home?
 10           A.    I don't recall if I met Jeffrey at that
 11    time or the next time that I was there.
 12           Q.    How did you meet Jeffrey?         Did Maxwell
 13    introduce you to Jeffrey?
 14           A.    Yes.
 15           Q.    What do you recall of your first meeting
 16    with Jeffrey?
 17           A.    I remember him being in a bathrobe.            I
 18    recall talking to him about how I was a major in
 19    psychology.      And he had studied psychology, and so
 20    he spoke with me about different topics.
 21                 I remember thinking this guy is very
 22    smart.      That was my first impression.
 23           Q.    And when you refer to Jeffrey, are you
 24    referring to Jeffrey Epstein?
 25           A.    Yes.




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                                                                    Page 11
  1           Q.    How did the meeting -- you said Maxwell
  2    took you to the home.         Do you remember how that
  3    meeting ended?
  4           A.    Well, she dropped me back off at campus.
  5           Q.    And did you --
  6           A.    She got my number and I took her number.
  7    And then she called me the next weekend to work.
  8           Q.    So at that point you started working for
  9    Ms. Maxwell?
 10           A.    At that time, yes.
 11                 MS. MENNINGER:      Objection, leading.
 12           Sorry.
 13    BY MS. McCAWLEY:
 14           Q.    Did you then start working for Ms. Maxwell
 15    after that first meeting?
 16           A.    She called me and I went over to the home
 17    the next Sunday to work.
 18           Q.    And what work -- can you describe for me
 19    the first day at work, what work you performed?
 20           A.    Sure.    I remember answering the phones and
 21    taking messages.       And at one point, she asked me to
 22    go pick up printer ink, and I took her car to Office
 23    Depot to get ink.
 24                 She asked me to go buy some magazines, so
 25    I went to Palm Beach Daily News and bought a few




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                                                                    Page 12
  1    magazines.
  2                 She and I went -- she wanted to take me
  3    shopping to Worth Avenue, but it was a Sunday and
  4    Nieman Marcus was closed, so we went back to, like,
  5    a little book store.        And I remember she bought, I
  6    think, five pairs of reading glasses because she
  7    thought Jeffrey would like them.            He had them all
  8    over the house.       On every table there was reading
  9    glasses.
 10                 And that's about it.         It was a pretty
 11    simple day.
 12           Q.    Were you paid that day for that work?
 13           A.    Yes.
 14           Q.    And how much were you paid?          Do you
 15    remember?
 16           A.    I don't remember how many hours I was
 17    there -- I was there.         She paid me cash.
 18           Q.    So Maxwell paid you?
 19           A.    Yes.
 20           Q.    And then was she the one who trained you
 21    with what -- with respect to what you were supposed
 22    to do during the day, directed you to, like you
 23    said, go to --
 24           A.    I believe she was the one that was kind of
 25    showing me around.




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                                                                    Page 13
  1           Q.    And how long did you work in that position
  2    answering phones and doing --
  3           A.    Just that one day.
  4           Q.    Just that one day.
  5                 And did your duties change?
  6           A.    Well, the next time she called me, she
  7    asked me if I wanted to come over and make $100 an
  8    hour rubbing feet.
  9           Q.    And what did you think of that offer?
 10           A.    I thought it was fantastic.
 11           Q.    And did you come over to the house for
 12    that purpose?
 13           A.    Yes.
 14           Q.    And when you came over to the house, was
 15    Maxwell present?
 16           A.    I don't recall.
 17           Q.    And what happened that second time you
 18    came to the house?
 19           A.    At that point, I met Emmy Taylor, and she
 20    took me up to Jeffrey's bathroom and he was present.
 21    And her and I both massaged Jeffrey.             She was
 22    showing me how to massage.
 23                 And then she -- he took -- he got off the
 24    table, she got on the table.          She took off her
 25    clothes, got on the table, and then he was showing




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                                                                    Page 14
  1    me moves that he liked.         And then I took my clothes
  2    off.     They asked me to get on the table so I could
  3    feel it.     Then they both massaged me.
  4           Q.    So it was more than a foot massage at that
  5    point?
  6           A.    Yeah, it was mostly, like, legs and back.
  7           Q.    Was everybody in the room without clothes
  8    on?
  9           A.    When they were on the massage table, yes.
 10           Q.    Did they -- when they got off the massage
 11    table to perform the massage, did they dress or
 12    did --
 13           A.    Yes.
 14           Q.    They dressed.
 15                 And do you recall who paid you for that
 16    first day that you did the massages?
 17           A.    I don't recall.
 18           Q.    Do you recall whether Maxwell was at the
 19    house during that first day when you were doing the
 20    massage with Emmy and Jeffrey?
 21                 MS. MENNINGER:      Objection, asked and
 22           answered.
 23    BY MS. McCAWLEY:
 24           Q.    You can answer.
 25           A.    I don't recall.




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                                                                    Page 15
  1           Q.    Who did Emmy work for?
  2           A.    Ghislaine.
  3           Q.    Did Maxwell ever refer to Emmy by any
  4    particular term?
  5           A.    She called her her slave.
  6           Q.    You said your job duties changed.           Did you
  7    start to travel as part of your job with Jeffrey and
  8    Ghislaine?
  9           A.    Yes.    The next time they called me, they
 10    asked me to go to New York.
 11           Q.    And did you -- do you recall when that was
 12    approximately?
 13           A.    That was Easter of 2001.
 14           Q.    And do you recall who was on the plane
 15    with you for that trip?
 16                 MS. MENNINGER:      Objection, leading, form.
 17                 MS. McCAWLEY:      Actually, I'm going to stop
 18           really quickly and I'm going to ask for the
 19           next exhibit, please.
 20                 MS. MENNINGER:      This is 3?
 21                 MS. McCAWLEY:      Yes.    I'm going to mark
 22           this as Exhibit 3 for purposes of the
 23           deposition.
 24
 25




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                                                                    Page 16
  1                 (The referred-to document was marked by
  2            the court reporter for Identification as
  3            Sjoberg Exhibit 3.)
  4    BY MS. McCAWLEY:
  5            Q.   Johanna, I'm going to direct you -- I
  6    flagged some pages, but for the record, I'm going to
  7    say what pages they are before I hand you the
  8    exhibit.
  9            A.   Sure.
 10           Q.    These are Giuffre 000748 and 000758, are
 11    the two pages right now I may refer you to.              The
 12    document itself is 000721 through 789.
 13                 And these are flight logs from pilot David
 14    Rogers that have been produced in this case.
 15                 MS. MENNINGER:      Objection, foundation,
 16           asking the witness any questions about this
 17           document.
 18                 THE WITNESS:      Can I touch it?
 19                 MS. McCAWLEY:      Yes, you may.
 20                 MS. MENNINGER:      I just have to say things
 21           every now and then.
 22                 THE WITNESS:      Okay.
 23    BY MS. McCAWLEY:
 24           Q.    So you mentioned that you traveled to New
 25    York.    If you turn to page -- flagged page which




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                                                                    Page 17
  1    should be 000748, at the top of that document you're
  2    going to see a date of April 2001.
  3                 I'm just going to ask you to go down to
  4    the -- if you look at the line on the left to where
  5    it says 9 for the date, and look over where it has
  6    the names.
  7                 Do you see -- can you identify your name
  8    on that list?
  9           A.    Yes.
 10           Q.    And can you tell me -- I know there are
 11    initials there -- who else to the extent you
 12    remember was on the plane with you?
 13                 MS. MENNINGER:      Objection, foundation,
 14           leading, form of question.
 15    BY MS. McCAWLEY:
 16           Q.    Johanna, do you recall who was on the
 17    plane with you that day?
 18                 MS. MENNINGER:      Objection, foundation,
 19           form, leading.
 20                 The witness is reading the document.
 21    BY MS. McCAWLEY:
 22           Q.    You can answer.
 23           A.    Okay.    JE, Jeffrey Epstein; ET, Emmy
 24    Taylor; VR, Virginia Roberts; BK, I do not recall;
 25    and myself.




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                                                                    Page 18
  1                  MS. MENNINGER:     Objection.      The witness is
  2           reading the document.
  3    BY MS. McCAWLEY:
  4           Q.     And do you recall where you flew when you
  5    went to -- when you traveled that first time with
  6    Jeffrey Epstein?
  7           A.     We left from Palm Beach and landed in
  8    Atlantic City for a few hours because there was a
  9    storm in New York, and then got back on the plane a
 10    few hours later and landed in Teterboro.
 11           Q.    And you said that you recall landing in
 12    Atlantic City.       Did you go into Atlantic City?
 13           A.    Yes, went to one of Trump's casinos.
 14           Q.    Did you actually go into the casino
 15    itself?
 16           A.    Yes.
 17           Q.    Do you recall Virginia -- at the time
 18    Virginia Roberts being present with you?
 19           A.    Yes.
 20           Q.    Do you recall if she went into the casino?
 21           A.    She was underage.       I did not know anything
 22    about how old you had to be to gamble legally.               I
 23    just knew she could not get in because of an ID
 24    issue.      So she and I did not gamble.
 25           Q.    In your opinion, did Virginia look young,




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                                                                    Page 19
  1    in your view?
  2           A.    Yes.
  3           Q.    Did you ever -- did you at that time
  4    wonder why she was traveling with Jeffrey?
  5           A.    At that time, I did not.
  6           Q.    Did you later wonder that?
  7           A.    Yes.
  8           Q.    And what was your impression?
  9                 MS. MENNINGER:      Objection, vague,
 10           speculative.
 11                 THE WITNESS:      I -- we're jumping ahead; is
 12           that okay?
 13    BY MS. McCAWLEY:
 14           Q.    Yes, that's okay.
 15           A.    A few days later, I remember asking her
 16    questions to try to figure out her role, why she was
 17    there, and she gave me vague answers and was never
 18    specific.
 19                 And so I thought perhaps she just was an
 20    assistant, someone that did massages well.              I wanted
 21    to believe that she was innocent.
 22           Q.    Did you ever refer to her as being
 23    orphan-like?
 24           A.    I did.
 25           Q.    And how did that come about?




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                                                                    Page 20
  1           A.    No, I only -- to you, I said that to you.
  2    I just saw her as perhaps someone who may not have
  3    had a strong family, and they took her under their
  4    wing.
  5           Q.    Now, you mentioned remembering going to
  6    Atlantic City.
  7                 Did you go -- where did you go after
  8    Atlantic City?
  9           A.    Once we landed in New York, Emmy and I
 10    went in a car and drove around the city for a half
 11    hour or so, just to see some of the city.
 12           Q.    And then where did you go after doing the
 13    sightseeing?
 14           A.    We went to the townhouse on East 71st.
 15           Q.    And can you describe that location for me?
 16           A.    Sure.    Between Madison and Park.         I think
 17    the address might have been 9 East 71st Street.
 18           Q.    And who owned that home?
 19           A.    As far as I knew, Epstein.
 20           Q.    Can you describe for me physically what --
 21           A.    Palatial.     When you walk up, it looks like
 22    a normal door to a townhouse, and when you walk
 23    in -- I thought there were four floors.             I heard
 24    there were seven floors.         I didn't see them all.
 25           Q.    And do you recall who, if anybody, was at




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                                                                    Page 21
  1    Jeffrey's home when you arrived?
  2            A.   Yes.    When I first walked in the door, it
  3    was just myself, and Ghislaine headed for the
  4    staircase and said -- told me to come up to the
  5    living room.
  6            Q.   And what happened at that point, when you
  7    came up to the living room?
  8            A.   I came up and saw Virginia, Jeffrey,
  9    Prince Andrew, Ghislaine in the room.
 10           Q.    And did you meet Prince Andrew at that
 11    time?
 12           A.    Yes.
 13           Q.    And what happened next?
 14           A.    At one point, Ghislaine told me to come
 15    upstairs, and we went into a closet and pulled out
 16    the puppet, the caricature of Prince Andrew, and
 17    brought it down.       And there was a little tag on the
 18    puppet that said "Prince Andrew" on it, and that's
 19    when I knew who he was.
 20           Q.    And did -- what did the puppet look like?
 21           A.    It looked like him.        And she brought it
 22    down and presented it to him; and that was a great
 23    joke, because apparently it was a production from a
 24    show on BBC.      And they decided to take a picture
 25    with it, in which Virginia and Andrew sat on a




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  1    couch.       They put the puppet on Virginia's lap, and I
  2    sat on Andrew's lap, and they put the puppet's hand
  3    on Virginia's breast, and Andrew put his hand on my
  4    breast, and they took a photo.
  5            Q.    Do you remember who took the photo?
  6            A.    I don't recall.
  7            Q.    Did you ever see the photo after it was
  8    taken?
  9            A.    I did not.
 10           Q.     And Ms. Maxwell was present during the --
 11    was Ms. Maxwell present during that?
 12           A.     Yes.
 13           Q.     What happened next?
 14           A.     The next thing I remember is just being
 15    shown to which room I was going to be staying in.
 16           Q.     When you exited the room that you were in
 17    where the picture was taken, do you recall who
 18    remained in that room?
 19           A.     I don't.
 20           Q.     Do you recall seeing Virginia exit that
 21    room?
 22           A.     I don't.
 23           Q.     During this trip to New York, did you have
 24    to perform any work when you were at the New York
 25    house?




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                                                                    Page 23
  1            A.   I performed at least one massage that I
  2    recall.
  3            Q.   And who instructed you to give that
  4    massage?
  5            A.   Jeffrey.
  6            Q.   And can you describe for me what happened
  7    during that massage?
  8            A.   Near the end, he asked me to rub his
  9    nipples while he masturbated.
 10           Q.    And did that take place?
 11           A.    It did not.
 12           Q.    And why not?
 13           A.    I was not comfortable with it.           And so I
 14    left the room.
 15           Q.    Did you have any -- did you say anything
 16    to him before leaving the room?
 17           A.    I believe I said, "I'm done."
 18           Q.    Do you recall what his reaction was to
 19    that?
 20           A.    I do not.     At the time, at that moment, I
 21    do not.
 22           Q.    Did you recall later what --
 23           A.    Well, we had a conversation a little
 24    later, talking about his expectations, and that was
 25    the conversation where he said that the next trip




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                                                                    Page 24
  1    they were going on was to the island in the Virgin
  2    Islands, and I would be invited; however, there
  3    would be, quote, sex stuff happening.
  4           Q.     Can you describe for me -- can you
  5    describe for me what that -- in New York, where you
  6    massaged and what that looked like?
  7           A.     He had one room that was the massage room.
  8    It was about the size of a spa room in a spa.               It
  9    had high ceilings.        It had dark tapestry on the
 10    walls.      It was a very dark room.       There was a very
 11    large picture of a naked woman whom I don't recall.
 12    That's all I remember.
 13           Q.    In the New York home, did you observe
 14    photos around the house?
 15           A.    I don't recall.
 16           Q.    In the Palm Beach home that we were
 17    talking about earlier, did you recall seeing photos
 18    in that?
 19           A.    Yes.
 20           Q.    And did you recall seeing photos of naked
 21    females in that home?
 22           A.    Yes.
 23           Q.    Approximately -- can you tell me where you
 24    would see those in the home?
 25           A.    I definitely saw them in his bathroom.




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                                                                    Page 25
  1    And I can't recall if they were in the main living
  2    areas.
  3           Q.    Did you see them in the stairwell up to
  4    the second story of the house?
  5           A.    I can't recall.
  6           Q.    Do you know who -- who the people were in
  7    those photos?      Were you familiar with any of them?
  8           A.    No.
  9           Q.    Were you in any of those photos?
 10           A.    At one point, yes.
 11           Q.    And were you naked in that photo?
 12           A.    Topless.
 13           Q.    Do you recall seeing any naked photos of
 14    Virginia Roberts?
 15           A.    I do not.
 16           Q.    Where did you go next, after the New York
 17    visit?
 18           A.    I went to the Virgin Islands.
 19           Q.    And who told you that you would be going
 20    to the Virgin Islands?
 21           A.    He asked me if I wanted to go, and I said
 22    I would still like to go.
 23           Q.    And do you recall who you -- who went with
 24    you to the Virgin Islands?
 25           A.    I believe -- well, I know Virginia was




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                                                                    Page 26
  1    with me.     Ghislaine was there.         Jeffrey.    And there
  2    were two other women that I don't recall their
  3    names.
  4           Q.    Did you travel on Jeffrey's plane to get
  5    to the Virgin Islands?
  6           A.    Yes.
  7           Q.    I want to show you again the flight log
  8    that you have there in front of you.             If you can
  9    flip to --
 10                 MS. MENNINGER:      I'm going to object to the
 11           foundation again.
 12    BY MS. McCAWLEY:
 13           Q.    It's that same page that you were on.               The
 14    date is the 11th.
 15           A.    Yes.
 16           Q.    Do you see the TEB to TIST there?
 17           A.    Yes.
 18                 MS. MENNINGER:      Objection, leading.        The
 19           questioning is testifying now.
 20                 MS. McCAWLEY:      Can you let me finish my
 21           question, please?
 22    BY MS. McCAWLEY:
 23           Q.    Can you tell me who the initials are there
 24    that you see that were on the plane?
 25                 MS. MENNINGER:      Objection, foundation,




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                                                                    Page 27
  1           leading.
  2                 THE WITNESS:      Jeffrey Epstein; Ghislaine
  3           Maxwell; AP and PK are the two women I do not
  4           recall; Virginia Roberts; and myself.
  5    BY MS. McCAWLEY:
  6           Q.    Do you recall how you flew back from the
  7    location in the US Virgin Islands?
  8           A.    They put me on a commercial flight.            I
  9    wanted to be home in time for Easter.
 10           Q.    When you say "they," do you recall who
 11    made those arrangements for you?
 12           A.    It could have been Ghislaine.
 13           Q.    Did you -- do you recall performing
 14    massages while you were in the US Virgin Islands?
 15           A.    Yes.
 16           Q.    Who was involved in -- was there more than
 17    one?
 18           A.    Yes.    I massaged Ghislaine at one point.
 19    And I massaged Jeffrey, Virginia and I, both, on the
 20    beach.
 21           Q.    Were you dressed during the massage that
 22    was on the beach?
 23           A.    Yes.    Bikinis probably, most likely.
 24           Q.    Do you recall what Virginia was wearing?
 25           A.    I believe she was wearing a bathing suit,




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                                                                    Page 28
  1    as well.
  2           Q.    Were you paid for the massage on the beach
  3    with Virginia?
  4           A.    At the end of -- before I left and flew
  5    home, Ghislaine gave me $1,000.
  6           Q.    You mentioned that you massaged -- you
  7    recall massaging Ghislaine on the trip to the USVI.
  8                 Do you recall when that took place?
  9           A.    I don't even recall what days we were
 10    there, so...
 11           Q.    Do you recall where it took place?
 12           A.    I believe it was -- well, either in my
 13    guest cottage or one of them.           There were three
 14    guest houses set up that were all similar and that I
 15    was staying in.       Virginia and I stayed in one
 16    together.     And it was either in there or in another
 17    one that was identical.
 18           Q.    And was that massage performed with
 19    Virginia as well or by you alone?
 20           A.    I don't recall.
 21           Q.    Were there other females in the USVI on
 22    that trip with you besides Virginia?
 23           A.    Two others.
 24           Q.    And do you recall who they were?
 25           A.    I do not.




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                                                                    Page 29
  1           Q.    Did you ever see Ghislaine Maxwell during
  2    that trip laying out by the pool?
  3           A.    There was one time where we were all by
  4    the pool, yes.
  5           Q.    Was Ghislaine Maxwell ever nude or topless
  6    by the pool?
  7           A.    I don't recall.       She was nude when she
  8    went swimming in the ocean.
  9           Q.    At that moment in the USVI home, did you
 10    observe any photos there of nude females?
 11           A.    I don't recall.
 12           Q.    Besides Virginia, who you mentioned, you
 13    observed to be young, did you observe any other
 14    females that in your view appeared to be essentially
 15    under the age of 18?
 16           A.    No.
 17           Q.    Did you observe any females who you
 18    thought looked young, younger than you?
 19           A.    No.
 20           Q.    Do you remember an individual by the name
 21    of          that you met during your time with Jeffrey
 22    Epstein?
 23           A.    In Palm Beach?
 24           Q.    Yes.
 25           A.    Yes.




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                                                                    Page 30
  1           Q.    Did you observe her to be young when you
  2    met her?
  3                 MS. MENNINGER:      Objection, vague as to
  4           time.
  5                 THE WITNESS:      All of the women were
  6           generally young.       I did not know the ages of
  7           really anyone, so...
  8    BY MS. McCAWLEY:
  9           Q.    How many massages did Jeffrey receive on
 10    average in a given day?
 11                 MS. MENNINGER:      Objection, foundation.
 12                 THE WITNESS:      Three a day.
 13    BY MS. McCAWLEY:
 14           Q.    Let me back up for a moment.
 15                 How long did you work for Jeffrey and
 16    Ghislaine?
 17                 MS. MENNINGER:      Objection, leading and
 18           foundation.
 19                 THE WITNESS:      I believe it was five years,
 20           2001 to 2006.
 21    BY MS. McCAWLEY:
 22           Q.    And how many massages did Epstein receive
 23    per day on average?
 24                 MS. MENNINGER:      Objection, foundation.
 25                 THE WITNESS:      Three.




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                                                                    Page 31
  1    BY MS. McCAWLEY:
  2           Q.     Were the massages performed by the same
  3    girl or different females?
  4           A.     Different.
  5                  MS. MENNINGER:     Objection, foundation.
  6    BY MS. McCAWLEY:
  7           Q.     What did the females who performed the
  8    massages look like?
  9                  MS. MENNINGER:     Objection, foundation.
 10                  THE WITNESS:     They all looked different.
 11           Some of them were ethnic, some were blond, some
 12           were short, some were tall.         Everyone was thin.
 13    BY MS. McCAWLEY:
 14           Q.     Were the girls who performed the massages
 15    young or old?
 16                  MS. MENNINGER:     Objection, foundation.
 17                  THE WITNESS:     I don't recall anyone being
 18           old.
 19    BY MS. McCAWLEY:
 20           Q.     Do you recall anybody being over the age
 21    of, say, 25?
 22                  MS. MENNINGER:     Objection, form.
 23                  THE WITNESS:     Yeah, I believe there was
 24           probably a few women that were older than 25.
 25                  MS. MENNINGER:     I'm sorry.      I get a chance




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  1           to object and then you can still answer.             No
  2           one is going to stop you from answering.             I
  3           just need to get the objection on the record,
  4           in the same way she needs to be able to talk
  5           before you.     My apologies.      I'm not trying to
  6           cut you off, but I am supposed to get it in
  7           before you answer.
  8    BY MS. McCAWLEY:
  9           Q.    Did Jeffrey ever tell you why he received
 10    so many massages from so many different girls?
 11                 MS. MENNINGER:      Objection, hearsay.
 12    BY MS. McCAWLEY:
 13           Q.    You can answer.
 14           A.    He explained to me that, in his opinion,
 15    he needed to have three orgasms a day.             It was
 16    biological, like eating.
 17           Q.    And what was your reaction to that
 18    statement?
 19           A.    I thought it was a little crazy.
 20           Q.    And what did -- do you recall what -- when
 21    you observed the other females giving massages, do
 22    you recall what they would dress like?             Did they
 23    wear scrubs or did they typically wear normal
 24    clothes?
 25           A.    Normal clothes.




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                                                                    Page 33
  1                 MS. MENNINGER:      Objection, leading.
  2    BY MS. McCAWLEY:
  3           Q.    Do you believe that from your
  4    observations, Maxwell and Epstein were boyfriend and
  5    girlfriend?
  6           A.    Initially, yes.
  7           Q.    Did Maxwell ever share with you whether it
  8    bothered her that Jeffrey had so many girls around?
  9                 MS. MENNINGER:      Objection, leading,
 10           hearsay.
 11                 THE WITNESS:      No.   Actually, the opposite.
 12    BY MS. McCAWLEY:
 13           Q.    What did she say?
 14           A.    She let me know that she was -- she would
 15    not be able to please him as much as he needed and
 16    that is why there were other girls around.
 17           Q.    Did there ever come a time -- did you ever
 18    take a photography class in school?
 19           A.    Yes.
 20           Q.    And did there ever come a time when
 21    Maxwell offered to buy you a camera?
 22           A.    Yes.
 23                 MS. MENNINGER:      Objection, leading.
 24    BY MS. McCAWLEY:
 25           Q.    Did Maxwell ever offer to buy you a




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                                                                    Page 34
  1    camera?
  2                 MS. MENNINGER:      Objection, leading.
  3                 THE WITNESS:      Yes.
  4    BY MS. McCAWLEY:
  5           Q.    Was there anything you were supposed to do
  6    in order to get the camera?
  7                 MS. MENNINGER:      Objection, leading.
  8                 THE WITNESS:      I did not know that there
  9           were expectations of me to get the camera until
 10           after.    She had purchased the camera for me,
 11           and I was over there giving Jeffrey a massage.
 12           I did not know that she was in possession of
 13           the camera until later.
 14                 She told me -- called me after I had left
 15           and said, I have the camera for you, but you
 16           cannot receive it yet because you came here and
 17           didn't finish your job and I had to finish it
 18           for you.
 19    BY MS. McCAWLEY:
 20           Q.    And did you -- what did you understand her
 21    to mean?
 22           A.    She was implying that I did not get
 23    Jeffrey off, and so she had to do it.
 24           Q.    And when you say "get Jeffrey off," do you
 25    mean bring him to orgasm?




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                                                                    Page 35
  1            A.     Yes.
  2            Q.     Did Ghislaine ever describe to you what
  3    types of girls Jeffrey liked?
  4            A.     Model types.
  5            Q.     Did Ghislaine ever talk to you about how
  6    you should act around Jeffrey?
  7            A.     She just had a conversation with me that I
  8    should always act grateful.
  9            Q.     Did Jeffrey ever tell you that he took a
 10    girl's virginity?
 11           A.    He did not tell me.        He told a friend of
 12    mine.
 13           Q.    And what do you recall about that?
 14                 MS. MENNINGER:      Objection, hearsay,
 15           foundation.
 16                 THE WITNESS:      He wanted to have a friend
 17           of mine come out who was cardio-kickboxer
 18           instructor.     She was a physical trainer.
 19                 And so I brought her over to the house,
 20           and he told my friend Rachel that -- he said,
 21           You see that girl over there laying by the
 22           pool?    She was 19.     And he said, I just took
 23           her virginity.      And my friend Rachel was
 24           mortified.
 25




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                                                                    Page 36
  1    BY MS. McCAWLEY:
  2           Q.    Based on what you knew, did Maxwell know
  3    that the type of massages Jeffrey was getting
  4    typically involved sexual acts?
  5                 MS. MENNINGER:      Objection, foundation,
  6           leading.
  7                 THE WITNESS:      Yes.
  8    BY MS. McCAWLEY:
  9           Q.    What was Maxwell's main job with respect
 10    to Jeffrey?
 11                 MS. MENNINGER:      Objection, foundation.
 12                 THE WITNESS:      Well, beyond companionship,
 13           her job, as it related to me, was to find other
 14           girls that would perform massages for him and
 15           herself.
 16    BY MS. McCAWLEY:
 17           Q.    Did Maxwell ever refer to the girls in a
 18    particular way?
 19           A.    At one point when we were in the islands,
 20    we were all watching a movie and she called us her
 21    children.
 22           Q.    Did anybody respond to that?
 23           A.    I don't recall.
 24           Q.    Did she ever refer to herself as a mother?
 25           A.    Yes, like a mother hen.




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                                                                    Page 37
  1           Q.    Do you recall who was present at the time
  2    that she made that comment about children?
  3           A.    This was the second trip that I took to
  4    the Virgin Islands, so, no.          I don't want to speak,
  5    you know, incorrectly.         I can't remember.       I can't
  6    really remember.
  7           Q.    Have you ever met David Copperfield?
  8           A.    Yes.
  9           Q.    And do you recall when you initially met
 10    him?
 11           A.    Yes.
 12           Q.    Can you tell me what that was?
 13           A.    Sure.    Someone called me from the house
 14    and said that he would be there, and if I wanted to
 15    come have dinner, then I could meet him.
 16                 So when I arrived at the house, he wasn't
 17    there yet, but I waited with, I believe, Sarah
 18    Kellen, and there was another girl there which I had
 19    never met and never seen.          She seemed young to me.
 20                 And I asked her what school she went to,
 21    kind of prodding to see if she went to one of the
 22    area colleges, and I did not recognize the name of
 23    the school.
 24                 And so I thought she could be younger than
 25    college age, but I had to assume for my own sanity




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                                                                    Page 38
  1    that she was a daughter of one of his friends.
  2            Q.   But it was possible she was the school --
  3    is it possible that the school she referred to was a
  4    high school?
  5            A.   Yes.
  6            Q.   And what happened at that dinner, if
  7    anything?
  8            A.   He did some magic tricks.
  9            Q.   Did you observe David Copperfield to be a
 10    friend of Jeffrey Epstein's?
 11           A.    Yes.
 12           Q.    Did Copperfield ever discuss Jeffrey's
 13    involvement with young girls with you?
 14           A.    He questioned me if I was aware that girls
 15    were getting paid to find other girls.
 16           Q.    Did he tell you any of the specifics of
 17    that?
 18           A.    No.
 19           Q.    Did he say whether they were teenagers or
 20    anything along those lines?
 21           A.    He did not.
 22                 MS. MENNINGER:      Objection, leading, calls
 23           for hearsay.
 24    BY MS. McCAWLEY:
 25           Q.    Did you ever hear or observe Jeffrey




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                                                                    Page 39
  1    talking on the phone about Frederic Fekkai?
  2           A.     Yes.
  3                  MS. MENNINGER:     Objection, leading.
  4    BY MS. McCAWLEY:
  5           Q.     What did you hear?
  6           A.     I heard him call someone, and say, Fekkai
  7    is in Hawaii.        Can we find some girls for him?
  8           Q.     And what was your reaction to that?
  9           A.     Well, I was massaging and I didn't have a
 10    reaction.     I tried to remain reactionless the whole
 11    five years.
 12           Q.    Did Jeffrey ever take you shopping?
 13           A.    Yes.
 14           Q.    Can you describe for me what happened?
 15           A.    Sure.    He took me to Victoria's Secret.           I
 16    believe he picked out everything and went into the
 17    room with me, the fitting room, which was very odd.
 18           Q.    Did he make any comments about being in
 19    the fitting room with you?
 20           A.    He joked that one time he was in there
 21    with another girl, and she said something like
 22    "Dad."      But that's all I recall.
 23           Q.    Did Jeffrey ever talk to you -- let me
 24    back up a moment.
 25                 Have you ever been propositioned by anyone




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                                                                    Page 40
  1    to have a baby for someone?
  2           A.    Yes.
  3           Q.    And who propositioned you?
  4           A.    Jeffrey asked me.
  5           Q.    Did he ask you more than once?
  6           A.    Yes.
  7           Q.    And what did he say?
  8           A.    Basically just said, I want you to be the
  9    mother of my baby.
 10           Q.    And do you recall your response to that?
 11           A.    Um, I don't believe that I said flat-out
 12    no.    I didn't agree to it.        I would just say, Oh,
 13    yeah, really?       Okay.
 14           Q.    Did you ever bring other girls over as
 15    Maxwell had requested?
 16                 MS. MENNINGER:      Objection, leading,
 17           hearsay, form.
 18                 THE WITNESS:      One time.
 19    BY MS. McCAWLEY:
 20           Q.    Let me back up a minute, just to make it a
 21    clean question.
 22                 Did you ever bring friends over to massage
 23    Jeffrey?
 24           A.    No.
 25           Q.    And why did you not bring friends over to




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                                                                    Page 41
  1    massage Jeffrey?
  2           A.    I was living in secret about what I was
  3    doing during the massages, and I did not want my
  4    friends to be -- to know what I was doing.              So I did
  5    not want anyone else coming into that.
  6           Q.    Was Bill Clinton a friend of Jeffrey
  7    Epstein?
  8                 MS. MENNINGER:      Objection, foundation.
  9    BY MS. McCAWLEY:
 10           Q.    Let me back up.
 11                 Do you know if Bill Clinton was a friend
 12    of Jeffrey Epstein?
 13           A.    I knew he had dealings with Bill Clinton.
 14    I did not know they were friends until I read the
 15    Vanity Fair article about them going to Africa
 16    together.
 17           Q.    Did Jeffrey ever talk to you about Bill
 18    Clinton?
 19           A.    He said one time that Clinton likes them
 20    young, referring to girls.
 21           Q.    Did you ever -- do you recall ever taking
 22    a trip to Jeffrey Epstein's home in New Mexico?
 23           A.    Yes.
 24           Q.    And do you recall who you went on that
 25    trip with?




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                                                                    Page 42
  1            A.    Sarah Kellen was there.        Ghislaine was
  2    there.       That's all I recall.
  3            Q.    Do you recall why you went on the trip to
  4    New Mexico?
  5            A.    To work.
  6            Q.    Did you perform massages on that trip?
  7            A.    Yes.
  8            Q.    Did you -- do you recall whether you
  9    performed massages with Sarah Kellen on that trip?
 10           A.     No.
 11           Q.     Do you recall in the New Mexico home ever
 12    observing nude photos of females there?
 13           A.     I don't recall.
 14           Q.     When you would provide massages, would you
 15    provide those massages naked?
 16           A.     On occasion.
 17           Q.     On average, would you be naked, if it was
 18    100 percent of the time, more than 50 percent of the
 19    time?
 20           A.     Can you repeat it?
 21           Q.     Sure.   When you're performing the
 22    massages, can you tell me -- you said on occasion.
 23    Over the five years that you worked for him, how
 24    often did you perform massages naked?
 25           A.     Somewhere between 25 and 50 percent of the




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                                                                    Page 43
  1    time.
  2           Q.    Did Epstein try to make the massages
  3    sexual?
  4           A.    On occasion.
  5           Q.    Would Epstein have you rub his nipples?
  6           A.    Yes.
  7           Q.    Would he masturbate during the massages?
  8           A.    Yes.
  9           Q.    Did he use sex toys or vibrators on you?
 10           A.    Yes.
 11           Q.    Would he leave the sex toys or vibrators
 12    out after the massage or would he clean up after
 13    himself?
 14                 MS. MENNINGER:      Objection, vague, form.
 15                 THE WITNESS:      He did not ever clean up.
 16    BY MS. McCAWLEY:
 17           Q.    Do you believe that your experience during
 18    the years you were with Jeffrey and Maxwell damaged
 19    you?
 20                 MS. MENNINGER:      Objection, leading, form.
 21                 THE WITNESS:      It affected me.      "Damaged"
 22           is a strong word.
 23    BY MS. McCAWLEY:
 24           Q.    And in what way did it affect you?
 25           A.    It affected future relationships with men,




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                                                                    Page 44
  1    trust issues, expectation issues.
  2           Q.    Did you observe Nadia Marcinkova and
  3    Ghislaine at the house at the same time?
  4                 MS. MENNINGER:      Objection, leading, form.
  5                 THE WITNESS:      I don't recall.
  6    BY MS. McCAWLEY:
  7           Q.    On the USVI trip, the second trip that you
  8    took, do you recall Nadia Marcinkova being present?
  9           A.    I believe she was present at that trip.
 10           Q.    Do you recall Maxwell being present on
 11    that trip?
 12           A.    Yes.
 13           Q.    Do you know an individual by the name of
 14                 ?
 15           A.    Yes.
 16           Q.    And who is                 ?
 17           A.    She was one of the girls that was around.
 18           Q.    Was                around both Jeffrey Epstein
 19    and Ghislaine Maxwell?
 20           A.    I don't recall.
 21           Q.    Do you recall where you first met
 22
 23           A.    In Palm Beach.
 24           Q.    At Jeffrey Epstein's home?
 25           A.    Yes.




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                                                                    Page 45
  1           Q.    And what -- do you recall any observations
  2    about                 when you met her?
  3           A.    To speak with, she was a little rough
  4    around the edges, and I could see the progression of
  5    her being groomed a little.          They got her braces.
  6    She had terrible posture.          And with a lot of
  7    massages, she learned to stand up straight.              So I
  8    just saw her become a much more confident person.
  9           Q.    Do you recall how old she was when you
 10    first met her?
 11           A.    I assumed she was 18, but I do not know
 12    her age.
 13                 MS. McCAWLEY:      We're going to take a break
 14           really quickly and then we will be back.             So we
 15           are going to go off the record.
 16                 THE VIDEOGRAPHER:       Off the record at 9:48.
 17                 (Thereupon, a recess was taken, after
 18           which the following proceedings were held:)
 19                 THE VIDEOGRAPHER:       On the record at 9:58.
 20    BY MS. McCAWLEY:
 21           Q.    I'm just going to resume.         I have a few
 22    more questions for you.
 23                 You mentioned visiting the US Virgin
 24    Islands.
 25                 Do you recall doing any activities with




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                                                                    Page 46
  1    Maxwell when you were on the visit to the USVI?
  2                 MS. MENNINGER:      Objection, vague as to
  3           time.
  4                 THE WITNESS:      I don't recall.
  5    BY MS. McCAWLEY:
  6           Q.    Do you recall ever going hiking with her?
  7           A.    Yes.
  8           Q.    Did Maxwell ever ask you to try to bring
  9    other girls over for Jeffrey?
 10           A.    At that time?
 11           Q.    Yes.
 12           A.    No.
 13           Q.    Any other time?
 14           A.    Well, she had asked me if I knew anyone
 15    that could perform massages that would come to the
 16    house.
 17           Q.    And what was your understanding of that
 18    request?
 19                 MS. MENNINGER:      Objection.
 20                 THE WITNESS:      Well --
 21                 MS. MENNINGER:      Form.
 22                 THE WITNESS:      -- I just wondered why they
 23           wouldn't just call me.
 24    BY MS. McCAWLEY:
 25           Q.    And did you bring anybody else over to




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                                                                    Page 47
  1    perform massages?
  2           A.    I did not.
  3           Q.    When you were either in the USVI or in
  4    Palm Beach, did you ever observe any females either
  5    topless or naked out by the pool?
  6           A.    Yes.
  7           Q.    What did you observe?
  8           A.    Mostly skinny-dipping.
  9           Q.    Do you know who the individuals were that
 10    you observed?
 11           A.    Sarah Kellen and Ghislaine.
 12           Q.    Anybody else?
 13           A.    Yes, but I don't recall who.
 14           Q.    Did that happen on more than one occasion?
 15           A.    Yes.
 16           Q.    How often do you remember making those
 17    observations?
 18           A.    Three times.
 19           Q.    Do you recall giving a statement to the
 20    police regarding Jeffrey Epstein?
 21           A.    Yes.
 22           Q.    Do you recall when you gave that
 23    statement?
 24           A.    I don't recall the date.
 25           Q.    Do you recall the year?




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                                                                    Page 48
  1           A.    I want to say it was early 2006 or late
  2    2005.
  3           Q.    Do you recall who you met with?
  4           A.    No.
  5           Q.    Do you recall what you told the police?
  6           A.    It was similar to this.         They were asking
  7    me a lot of questions that I answered.             They knew a
  8    lot.    They knew what the bathroom looked like.             They
  9    knew that the couch had a hot pink throw on it with
 10    green tassels.
 11                 I assumed that there had been videos and
 12    they had seen me.       They had seen the videos.          That's
 13    what I had assumed.        I didn't know that maybe people
 14    had already come forward and given them statements.
 15           Q.    Did they talk to you at all about the
 16    videos?
 17           A.    They said, Were you aware that there were
 18    video cameras in the house?
 19                 I said, No, but it would not surprise me.
 20                 MS. McCAWLEY:      And I'm going to mark as
 21           Exhibit 4 -- do you have an extra -- sorry.
 22           Did you get one?       Okay.   Giuffre 0002 through
 23           89.
 24                 And I'm going to direct you to page 00076,
 25           and I'm going to hand it to you.




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                                                                    Page 49
  1                 (The referred-to document was marked by
  2            the court reporter for Identification as
  3            Sjoberg Exhibit 4.)
  4    BY MS. McCAWLEY:
  5            Q.   I'm just going to ask that you take a look
  6    at that.     As you can see, under the narrative line
  7    there, there is a name.         It says, "Reported by
  8    Recarey, Joseph."       Is that a name you recall meeting
  9    with, a Detective Recarey?
 10           A.    Yes.    I mean, I don't recall his name,
 11    only except that he had been following me around,
 12    and he left me cards, like, on my car and in my
 13    door.    I tried to avoid him for a long time.
 14           Q.    And can you just look at the text
 15    underneath there?
 16           A.    Uh-huh.
 17           Q.    Take a moment to look at that.
 18           A.    Sure.
 19           Q.    Does that refresh your recollection as to
 20    what you told the police during the investigation?
 21           A.    There are errors in here.         I was not 23
 22    when I met him.       I was 21.
 23           Q.    Anything else that doesn't look correct?
 24           A.    The same error:       That I had met him three
 25    years ago, and it obviously had been closer to five.




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                                                                    Page 50
  1                 There is also the error, he obviously
  2    misunderstood me:       He did not pay for my tuition at
  3    college.     I'm still paying those school loans.            But
  4    he did pay for me to go to massage school and to
  5    cosmetology school.
  6                 Okay.    It pretty much ends here.
  7           Q.    Yes.     Right.   About halfway through the
  8    page.
  9           A.    Okay.
 10                 MS. McCAWLEY:      So, Johanna, that concludes
 11           my initial piece.       I'm going to reserve the
 12           rest of my time for redirect.          I'm going to
 13           turn it over to Laura.
 14                 MS. MENNINGER:      Can we take just a little
 15           break?
 16                 MS. McCAWLEY:      Sure, no problem.
 17                 THE VIDEOGRAPHER:       Off the record at
 18           10:05.
 19                 (Thereupon, a recess was taken, after
 20           which the following proceedings were held:)
 21                 THE VIDEOGRAPHER:       On the record at 10:14.
 22                         E X A M I N A T I O N
 23    BY MS. MENNINGER:
 24           Q.    Hi.
 25           A.    Hello.




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                                                                    Page 51
  1           Q.    We've never met before today, correct?
  2           A.    Correct.
  3           Q.    Can you tell me a little bit about your
  4    current job?
  5           A.    Sure.    I just purchased a salon.         I'm a
  6    salon owner.        I'm a hairstylist.
  7           Q.    Congratulations.
  8           A.    Thank you.
  9           Q.    How long have you been a hairstylist?
 10           A.    For 10 years.
 11           Q.    And what did you do before that?
 12           A.    I briefly did massage in a spa for about a
 13    year and a half.       And before that I was a nanny, and
 14    before that I was in school.
 15           Q.    And I believe you said you studied
 16    psychology in school?
 17           A.    Correct.
 18           Q.    Did you graduate?
 19           A.    Yes.
 20           Q.    With a degree in psychology?
 21           A.    Yes.
 22           Q.    Where did you get training to be a massage
 23    therapist?
 24           A.




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                                                                    Page 52
  1           Q.    And when did do you that?
  2           A.    That would have been, I believe, in
  3           Q.    And how long did you study there?
  4           A.    I think it was a six-month program.
  5           Q.    And you worked in a spa thereafter?
  6           A.    I did.
  7           Q.    What was the name of the spa again?
  8           A.
  9           Q.    And are you married?
 10           A.    No.
 11           Q.    Do you have children?
 12           A.    No.
 13           Q.    And how old are you now?
 14           A.
 15           Q.    Can you tell me about your first meeting
 16    with Ghislaine Maxwell?
 17           A.    Sure.    I was sitting on a bench
 18                                          .   She approached me.
 19    I was getting ready to go to a class.             It was my
 20    junior year.       Yes, it was the second semester of my
 21    junior year.       And she and another woman approached
 22    me.    The other woman didn't speak that I recall.
 23                 And she asked me about -- she had a house
 24    in Palm Beach, and she was looking for someone that
 25    she could hire to work at the house, where she could




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                                                                    Page 53
  1    post that she needed help.
  2                 She then asked me if I knew anyone, and I
  3    didn't know who she was, I didn't want to take the
  4    responsibility of finding someone to work for her,
  5    and so I said, Sorry, I don't.
  6                 And then she said, Well, maybe what about
  7    you?
  8                 And I was at a point in life, I was super
  9    spontaneous and willing to skip school.
 10                 So she said, Come to my house, come in my
 11    car and check it out.
 12                 And so I did.
 13           Q.    Okay.    So for those of you -- of us who
 14    don't know, is this like a college campus, like a
 15    traditional college campus, or is it in a city
 16    setting?
 17           A.    It's in a city setting.         I mean, Palm
 18    Beach is not a big city.         So it's on the
 19    Intracoastal, and there was a big grassy area that
 20    were surrounded by buildings, so she was inside of
 21    the campus.
 22           Q.    And she was looking for a bulletin board
 23    where she could post a job?
 24           A.    Something like that, yes.
 25           Q.    Did she have any kind of flyers --




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                                                                    Page 54
  1           A.    Not that I recall.
  2           Q.    But that's what she asked you, for
  3    directions to a bulletin board where she could post
  4    a job?
  5           A.    Yes.
  6                 MS. McCAWLEY:      Objection.
  7    BY MS. MENNINGER
  8           Q.    And it sounds like you guys got into a
  9    conversation; is that fair?
 10           A.    Yes.
 11           Q.    Can you describe Ghislaine Maxwell's
 12    personality?
 13           A.    Well, I instantly picked up on the fact
 14    that she was British.         She had on, like, workout
 15    clothes.     I believe she was wearing all black.            And
 16    she -- I mean, she was a little snarky, but I felt
 17    comfortable enough to get in the car with her.
 18           Q.    And it sounds like you had contact with
 19    her over the next several years; is that fair?
 20           A.    Yes.
 21           Q.    And did you get to know more about her
 22    personality over those five years, four or five
 23    years?
 24           A.    Yes.
 25           Q.    And can you describe her for me, how you




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                                                                    Page 55
  1    observed her personality to be?
  2            A.   Sure.    She definitely had a great sense of
  3    humor, she loved making jokes.            I mean, in a very
  4    British way.        I don't remember her ever laughing,
  5    but she was funny.
  6                 And I remember just thinking, she -- the
  7    first weekend that we flew to the Virgin Islands,
  8    she flew the helicopter from Saint, wherever we were
  9    to little Saint Jeff [sic] or whatever the name of
 10    the island was, and I just thought, wow, who is this
 11    woman.
 12           Q.    Would you say that you respected her?
 13           A.    Yes.
 14           Q.    When you ended up getting in the car with
 15    her and this other woman and going back to the
 16    house, who was driving the car?
 17           A.    She was driving.
 18           Q.    And where did she take you?
 19           A.    She took me to the house in Palm Beach.
 20           Q.    And can you describe the house in Palm
 21    Beach?
 22           A.    Sure.    It's at the end of El Brillo Way,
 23    on the Intracoastal.        The house was either white or
 24    pink.    It was pink at one time it may have been
 25    painted.     It was nothing fancy, it was large, it was




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                                                                    Page 56
  1    like a beach house.
  2            Q.   And when you got there, do you remember
  3    meeting other people while you were there that first
  4    time?
  5            A.   I remember other people being in the home.
  6    I don't really remember who was there.
  7            Q.   Do you remember meeting, like, a butler
  8    or --
  9            A.   Potentially, a chef.         Someone in the
 10    kitchen.     Maybe a house manager, yeah.
 11           Q.    What was your impression of this other
 12    woman that was with Ms. Maxwell at this time?
 13           A.    Zero.    She left zero impression on me.
 14           Q.    Age, height, hair color?         Nothing?
 15           A.    I want to say she was brunette.           Age, 20s.
 16    Yeah.
 17           Q.    And you were going for the purposes of
 18    checking out potentially working at this job?
 19           A.    Yes.
 20           Q.    It sounds like you met Jeffrey Epstein
 21    that first time that you did go to the house, right?
 22                 MS. McCAWLEY:      Objection.
 23                 THE WITNESS:      I believe I either met him
 24           that time or the next time.         I can't recall.
 25




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                                                                    Page 57
  1    BY MS. MENNINGER:
  2           Q.    Okay.    And tell me about your first
  3    meeting with him.
  4           A.    Sure.    I met him, I believe it was in the
  5    hallway right beside the kitchen.            There was a
  6    hallway.     It was actually more like a room, a pantry
  7    type of room.      That's where all of the pieces of
  8    paper with the phone messages would lay.
  9                 And I remember sitting on the counter and
 10    speaking with him, and he was in a bathrobe, and he
 11    spoke with me about me being in college and studying
 12    psychology.
 13           Q.    And did you form an opinion of him in that
 14    first meeting?
 15           A.    I -- yeah.     I believed that he was smart.
 16    He was personable and could speak to anyone.
 17           Q.    Did he give off any sexual vibes in the
 18    first meeting?
 19           A.    No.
 20           Q.    And where was Ghislaine when you were
 21    speaking with Mr. Epstein?
 22           A.    I don't recall.
 23           Q.    Do you recall going to a second floor of
 24    the home during that first meeting?
 25           A.    I don't recall.       Ghislaine said at one




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                                                                    Page 58
  1    point, You might get a massage today.             That was --
  2    sorry, that was the second time when I was in the
  3    home working.       And I just thought it was crazy that
  4    I would get a massage while I was working.              But it
  5    did not end up happening because the masseuse could
  6    not stay.
  7            Q.   Do you know who the masseuse was that
  8    could not stay?
  9            A.   No.
 10           Q.    But that didn't happen on the first
 11    meeting; you believe that was the second meeting?
 12           A.    Yes, that was when I was there to work.
 13           Q.    How long -- how did the first trip to the
 14    house end?
 15           A.    She gave me her phone number, and she took
 16    my phone number, and she took me back to school.
 17           Q.    And were you full-time at school at the
 18    time?
 19           A.    Yes.
 20           Q.    And how many classes were you taking, if
 21    you remember?
 22           A.    Probably four or five.
 23           Q.    How did you -- how long was it before you
 24    heard from Ms. Maxwell again?
 25           A.    Within probably three days.




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                                                                    Page 59
  1           Q.    And how did she contact you?
  2           A.    She called me on my -- at that time I had
  3    a cell phone.        It could have been on my cell phone.
  4    It could have been on my house phone.             We had house
  5    phones back then.
  6           Q.    I remember.
  7                 Where were you living at the time?
  8           A.    I was in an apartment in West Palm Beach.
  9           Q.    And did you have a roommate or with
 10    family?
 11           A.    I had a roommate.
 12           Q.    So when Ms. Maxwell called you on whatever
 13    phone it was, do you remember what she said?
 14           A.    Yeah.    She said, Do you want to come over
 15    and work on Sunday?
 16           Q.    And what did you say?
 17           A.    I said, Sure.
 18           Q.    And did you?
 19           A.    I did.
 20           Q.    How did you get there?
 21           A.    That I don't recall, because I did not
 22    have a car.
 23           Q.    Did you --
 24           A.    I think my roommate dropped me off,
 25    honestly.     I can remember what I was wearing.




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                                                                    Page 60
  1            Q.   You do?
  2            A.   I do.
  3            Q.   What were you wearing?
  4            A.   I had a -- I still have the shirt.            It's
  5    an old, weathered, blue, North Carolina Tech Tar
  6    Heels T-shirt.
  7            Q.   Because you -- did Ms. Maxwell explain to
  8    you what you would be doing on that Sunday when you
  9    came to work or was that part of the prior
 10    conversation?
 11                 MS. McCAWLEY:      Objection.
 12                 THE WITNESS:      About what I was wearing?
 13    BY MS. MENNINGER:
 14           Q.    No.   About what you were going to do at
 15    work.
 16           A.    She had explained that she just wanted
 17    someone to help out around the house, answering
 18    phones, you know, grabbing drinks if someone wanted
 19    a drink, running errands.
 20           Q.    And so you dressed appropriate to what you
 21    believed --
 22           A.    I did not know how to dress properly,
 23    apparently.      I should not have worn that.          But I was
 24    in college.
 25           Q.    Did anyone say anything to you?




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                                                                    Page 61
  1           A.    No.
  2           Q.    So when you got there, what happened?
  3    This is your second time to the house, but your
  4    first time working, right?
  5           A.    Yes.
  6                 I was probably introduced to a few people
  7    that were there.       I mean, I was there for several
  8    hours.      Do I recall every minute?        No.   I just
  9    recall when I would actually have to work, answer
 10    the phone, pour some drinks for people.             Just water;
 11    they didn't drink alcohol.          And run errands.       There
 12    were a few errands that I ran.
 13           Q.    You described those errands earlier?
 14           A.    I did.    In her car.
 15           Q.    You used her car?
 16           A.    Yes.
 17           Q.    What kind of car was it?
 18           A.    It was a Mercedes convertible.
 19           Q.    Did anyone go with you?
 20           A.    No.
 21           Q.    You described a shopping trip.           Was that
 22    in the same car?
 23           A.    Yes.
 24           Q.    Was that a separate trip than when you
 25    went to run errands?




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                                                                    Page 62
  1           A.    Yes.    That's when Ghislaine went with me
  2    and she drove.
  3           Q.    Okay.    So you ran errands, came back, more
  4    than once?
  5           A.    Twice.
  6           Q.    And then you went on a shopping trip?
  7           A.    Yes.
  8           Q.    During the time you were at the home, was
  9    there anything that made you suspicious?
 10           A.    No.
 11           Q.    Or leery?
 12           A.    No.
 13           Q.    You mentioned there may have been some
 14    discussion of a massage.         Do you recall that
 15    discussion?
 16           A.    I had never had a massage before.           So she
 17    just said there was a massage therapist coming and I
 18    may get one.
 19           Q.    Did she say who it was?
 20           A.    No.
 21           Q.    So when you went shopping on this trip,
 22    you said Ghislaine drove the car and you went with
 23    her.    Was anyone else there?
 24           A.    No.
 25           Q.    And where did you all go?




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                                                                    Page 63
  1           A.    We went to Worth Avenue in Palm Beach, but
  2    because it was Sunday, the stores were closed.
  3                 Bless you.
  4                 MR. LOUIS:     Thank you.
  5                 THE WITNESS:      So from there, we went to --
  6           I believe it was Palm Beach Daily News, which
  7           was like a little book store.          And I remember
  8           her purchasing reading glasses for Jeffrey and
  9           some magazines.
 10    BY MS. MENNINGER:
 11           Q.    Were those things for the home?
 12           A.    Yes.
 13           Q.    And earlier on your errands, you had been
 14    purchasing things for the home or office?
 15           A.    Yes.    Yes.
 16           Q.    Besides the printer cartridge, ink
 17    cartridge, do you remember anything else?
 18           A.    Well, yes.     Like they wanted specific
 19    magazines.      I don't know if it was, like, Scientific
 20    American or something to that effect.             It was
 21    wasn't, like, Playboy.
 22           Q.    Okay.    Did you ever answer phones?
 23           A.    Yes.
 24           Q.    When did you answer phones?
 25           A.    That day.




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                                                                    Page 64
  1           Q.    Do you remember anything notable about the
  2    phone calls?
  3           A.    I just remember I always had to say, He's
  4    unavailable, can I take a message?
  5           Q.    And where did you take a message?
  6           A.    On a little notepad next to the phone.
  7           Q.    Do you recall any small children calling
  8    the house that day?
  9           A.    No.
 10           Q.    Were you speaking to anyone about their
 11    school experience or anything like that?
 12           A.    No.
 13           Q.    Did you take any messages for famous
 14    people?
 15           A.    They could have been famous and I would
 16    have been clueless.
 17           Q.    Did you take messages at any other point
 18    during the time that you worked with Jeffrey?
 19           A.    No.
 20           Q.    And you said you remember at the end of
 21    that day being paid by Ghislaine?
 22           A.    Yes.
 23           Q.    And you were paid for doing the errands
 24    and answering phones and whatever else you did?
 25           A.    Yes.




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                                                                    Page 65
  1                 MS. McCAWLEY:      Objection.
  2    BY MS. MENNINGER:
  3            Q.   Did you do anything else that day in terms
  4    of errands or things around the house that you
  5    remember?
  6            A.   Not that I recall.
  7            Q.   Did you come back to answer phones and do
  8    errands any other day?
  9            A.   No.
 10           Q.    That was the only day you did it?
 11           A.    Yes.
 12           Q.    All right.
 13                 Tell me the second time -- how long was it
 14    before you got another sort of contact from anybody
 15    at the home?
 16           A.    Okay.    Well, after that -- I remember
 17    actually that day of working, I sat with Ghislaine
 18    outside on this -- outside table on the patio by the
 19    pool.    I told her that I was getting ready to go to
 20    Nicaragua for spring break on a mission trip.               I
 21    remember her going, Why would you ever go to
 22    Nicaragua?      So I was going to be gone the next week
 23    for spring break.
 24                 So she called, after I returned, and asked
 25    if I wanted to make $100 an hour rubbing feet.




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                                                                    Page 66
  1           Q.    Was that the whole conversation?
  2           A.    That was pretty much it.         I said, Okay,
  3    sure, tell me when.
  4           Q.    And were you excited about the prospect of
  5    rubbing feet and making $100?
  6           A.    I was actually with -- while I was on the
  7    trip in Nicaragua, I was rubbing feet, I was
  8    massaging people, their feet.           So it just seemed
  9    kind of crazy that it all happened at the same time.
 10           Q.    How was it rubbing feet?
 11           A.    I guess I just liked doing it.           I didn't
 12    know that I did, but I was massaging people's feet.
 13           Q.    Were these strangers?
 14           A.    No, no, no.      They were -- it was a group
 15    of us that went on the trip.          So we were all very
 16    close.
 17           Q.    What kind of trip was it?
 18           A.    It was a -- well, a PBA, you had to do
 19    these things called Workship hours, which you had to
 20    do community service, 40 hours every year.              And so
 21    that was the way to do them all, and you would go on
 22    these trips and help build a school or feed children
 23    or do some sort of -- something nice.
 24           Q.    Nice.
 25                 What other trips did you take while you




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                                                                    Page 67
  1    were there?
  2           A.    I did a trip and worked with Habitat for
  3    Humanity in Baltimore.         And then I went back to
  4    Nicaragua the next year and did the same thing.
  5           Q.    Very nice.
  6                 And you were there for a whole week?
  7           A.    Yes.
  8           Q.    All right.
  9                 So you got a call from Ghislaine after you
 10    returned?
 11           A.    Yes.
 12           Q.    And that's when she asked you about
 13    rubbing feet?
 14           A.    Yes.
 15           Q.    And did she tell you when she would like
 16    you to come over?
 17           A.    It was either that night or the next day.
 18           Q.    And do you know how you got there?
 19           A.    No.
 20           Q.    Do you know what you were wearing?
 21           A.    No, I don't remember.
 22           Q.    When you got there, I think you said you
 23    don't remember if Ghislaine was actually there the
 24    second time?
 25           A.    I want to believe that she was there




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                                                                    Page 68
  1    because she was my main contact, and so I would
  2    assume that she was probably at the house and
  3    greeted me; however, I do not recall if she was
  4    there.
  5           Q.    It sounds like you met Emmy Taylor?
  6           A.    Yes.
  7           Q.    How did you meet Emmy Taylor?
  8           A.    She was at the house the first day that I
  9    worked running errands.         And I realized she was also
 10    a personal assistant type of person.
 11           Q.    Do you know who she worked for?
 12           A.    She, well, Ghislaine, it appeared to me
 13    that she worked for Ghislaine.            Ghislaine sort of
 14    told her what to do and where to go.
 15           Q.    And I believe you mentioned she called her
 16    her slave?
 17           A.    She did.     It was in a joking way, but she
 18    said, Yes, that's my slave.
 19           Q.    You did not see her in any type of slavery
 20    situation?
 21           A.    Not any chains or anything of the sort,
 22    no.
 23           Q.    So tell me what you remember about the
 24    second time you went.
 25           A.    The third time?




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                                                                     Page 69
  1                 MS. McCAWLEY:       Objection.
  2    BY MS. MENNINGER:
  3           Q.    I'm sorry.     You're right.      Third time.
  4    The second time you went to work, but the third time
  5    you were there.
  6           A.    Correct.
  7                 So I was escorted up to the bathroom,
  8    which is where 99 percent of the massages happened.
  9    And Emmy Taylor was with me and Jeffrey.              And I
 10    don't remember the order, but Emmy was on the table
 11    at one point.      She took all of her clothes off, got
 12    on the table.
 13                 I remember thinking, Okay, she's just
 14    going to strip naked and get on the table.              Well,
 15    that's cool.       We're cool.     That's what we do.
 16                 And Jeffrey was showing me how to massage
 17    on her body.       And then I took my clothes off and got
 18    on the table, and then they showed me what it felt
 19    like with the both of them.
 20                 And then Jeffrey got on the table and Emmy
 21    showed me how to massage.
 22           Q.    So Ghislaine was not in the room?
 23           A.    No.
 24           Q.    You said that 99 percent of the massages
 25    took place in the bathroom.




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                                                                    Page 70
  1                 Did you see massages take place in other
  2    places of the house at all?
  3           A.    Did I see any?      No, besides us maybe
  4    hanging out on the couch and someone massaging his
  5    foot or me massaging his foot.            But not, like, on a
  6    table.
  7           Q.    So just casual foot-rubbing might happen
  8    elsewhere in the home, but not a full-blown, full
  9    body massage?
 10                 MS. McCAWLEY:      Objection.
 11                 THE WITNESS:      Yes.
 12    BY MS. MENNINGER:
 13           Q.    Did you see any full-blown, full body
 14    massages out by the pool?
 15           A.    Not that I recall.
 16           Q.    And do you remember ever giving any
 17    yourself?
 18           A.    By the pool?
 19           Q.    Out by the pool, yes.
 20           A.    On a table?
 21           Q.    Yes.
 22           A.    No.
 23           Q.    All right.
 24                 You said that you had subsequently been
 25    trained as a massage therapist, correct?




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                                                                    Page 71
  1           A.    Correct.
  2           Q.    Would you describe it as normal massage
  3    protocol for a person to be naked under a towel
  4    during a massage, a regular massage?
  5                 MS. McCAWLEY:      Objection.
  6                 THE WITNESS:      Naked under a towel during a
  7           massage, the person getting massaged?
  8    BY MS. MENNINGER:
  9           Q.    Yes.
 10           A.    Yes.
 11           Q.    And as a massage therapist, you're trained
 12    how to drape the person so that they're covered in
 13    the right places, correct?
 14           A.    Yes.
 15           Q.    So when you were being trained by Emmy and
 16    Jeffrey on some massage techniques, did anyone say
 17    anything sexual during that conversation?
 18           A.    Not that I recall.
 19           Q.    What was the mood like?         Was it, you know,
 20    laughing?
 21           A.    Yes.    Comfortable.
 22           Q.    And just to clarify, the people who were
 23    giving the massages at the various points in time
 24    were clothed while they were doing that, correct?
 25                 MS. McCAWLEY:      Objection.




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                                                                    Page 72
  1    BY MS. MENNINGER:
  2           Q.    In this period you just described with
  3    Emmy Taylor and Jeffrey in a bathroom upstairs on
  4    your third visit to the house, people giving the
  5    massages had their clothes on, correct?
  6           A.    Correct.
  7           Q.    All right.
  8                 What was the next time you remember coming
  9    to the house there?
 10           A.    The next time was to do a massage.            All by
 11    myself.
 12           Q.    Okay.    And how did that one come about?
 13           A.    Hmm, someone must have called me, but I
 14    don't remember who.
 15           Q.    And to whom did you give the massage on
 16    this next visit to the house?
 17           A.    Jeffrey.
 18           Q.    Was Ghislaine present during that massage?
 19           A.    No.
 20           Q.    Did anything unusual occur during that
 21    massage?
 22           A.    After.
 23           Q.    What happened?      After the massage?
 24           A.    He asked me how well do I orgasm.           And I
 25    said, I don't, I'm a virgin.          And he was quite




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                                                                    Page 73
  1    surprised.
  2           Q.    Where were you when you were having this
  3    discussion?
  4           A.    In the bathroom.
  5           Q.    Were you clothed?
  6           A.    Yes.
  7           Q.    Was he clothed?
  8           A.    I don't remember him being naked.           He was
  9    probably either wrapped with a towel or in a
 10    bathrobe.
 11           Q.    Were you caught off guard by this
 12    question?
 13           A.    Yes.
 14           Q.    Was that the first time anyone had said
 15    anything sexual to you during this --
 16           A.    Ever?    Yes.
 17           Q.    Did he say anything else that you recall
 18    during that conversation?
 19           A.    I mean, we had a little bit of a
 20    conversation about it, but I don't recall
 21    specifically.
 22           Q.    And how did that massage encounter end?
 23           A.    Normal.    There was nothing I had to do,
 24    just normal massage.
 25           Q.    Did he pay you?




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                                                                    Page 74
  1           A.    Yes.
  2           Q.    How much did he pay you?
  3           A.    $200.
  4           Q.    How did he pay you?
  5           A.    Cash.
  6           Q.    And where was the cash?
  7           A.    I don't recall specifically.          It was
  8    either -- he brought it upstairs with him or it
  9    would have been down on his desk.
 10           Q.    And I'm assuming that you had other
 11    massages that you gave him under similar
 12    circumstances in the next years, right?
 13           A.    Many, right.
 14           Q.    So recalling this particular one is not
 15    sticking out in your mind?
 16           A.    Yes.
 17                 MS. McCAWLEY:      Objection.
 18    BY MS. MENNINGER:
 19           Q.    Do you remember the next time after that?
 20           A.    I don't.     I mean, from there, it's just a
 21    blur of random invites to come over and do it.
 22    Massage was, like, I would see him maybe three days
 23    a row, and I wouldn't see him for two months.               It
 24    would be kind of that irregular schedule.
 25           Q.    Do you ever recall a time where you came




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                                                                    Page 75
  1    over every day for three weeks in a row?
  2           A.    No.
  3           Q.    Were you paid $200 per massage?
  4           A.    Yes.
  5           Q.    And how long did the massages last?
  6           A.    Anywhere from 30 minutes to an hour and a
  7    half.
  8           Q.    Did you ever give a four-hour massage to
  9    him?
 10           A.    Good grief, no, not that I recall.
 11           Q.    Have you ever given a four-hour massage to
 12    anyone in your whole life?
 13           A.    No, I haven't.
 14           Q.    Tell me how the whole idea of traveling to
 15    New York came up.
 16           A.    I actually was not home.         They called
 17    my -- my apartment.        My roommate answered.        When I
 18    got home, she said, You need to call Jeffrey Epstein
 19    immediately.       He wants to take you to New York, but
 20    they are leaving at 4:00.
 21                 And I was excited because I had never been
 22    to New York.
 23           Q.    Are you from
 24           A.    I am.
 25           Q.    But you never went to New York?




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                                                                    Page 76
  1           A.    Just flying over it.
  2           Q.    When you said they called, do you know who
  3    called your roommate?
  4           A.    I don't know who called my roommate.
  5           Q.    In this sort of pre-trip to New York
  6    period, do you recall discussing any of the
  7    particulars of your massages with Jeffrey, with
  8    Ghislaine?
  9                 MS. McCAWLEY:      Objection.
 10    BY MS. MENNINGER:
 11           Q.    If that makes sense.
 12           A.    No.
 13           Q.    So before you got this call, had anyone
 14    mentioned the idea of traveling to you?
 15           A.    No.
 16           Q.    Did you call Jeffrey immediately?
 17           A.    I did.
 18           Q.    And what conversation did you have with
 19    him?
 20           A.    Basically he said, I want to take you
 21    to -- to New York City.         Can you be here quickly?
 22                 And I got to the house, and he said, Do
 23    you have your passport?
 24                 I said, No.
 25                 He said, Go get it.




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                                                                    Page 77
  1                 So I went back and picked up my passport,
  2    and went back to the house before we went to the
  3    airport.
  4           Q.    And why did you need your passport?
  5           A.    I was ready to find out.         I had no idea.
  6           Q.    This was the spontaneous phase?
  7           A.    Exactly.
  8           Q.    So you went and got your passport.            You
  9    came back.      And then what happened?
 10           A.    Then we went to the airport.
 11           Q.    And who is we?
 12           A.    So, I don't remember the ride to the
 13    airport, but the people that I recall being on the
 14    plane was Jeffrey, Ghislaine, Virginia and I.
 15           Q.    And when was the first time you met
 16    Virginia?
 17           A.    I believe it was that day.
 18           Q.    In your previous visits to the house, had
 19    you seen her there?
 20           A.    Not that I recall.
 21           Q.    And what was your impression the first day
 22    you met her?
 23           A.    She seemed young and blond and cute.
 24           Q.    What was her personality like?
 25           A.    I honestly don't recall her personality.




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                                                                    Page 78
  1    Bubbly.
  2           Q.    Did you see her in the plane or on the
  3    trip to New York engaged in any kind of affectionate
  4    or sexual contact with Jeffrey?
  5           A.    No.
  6           Q.    With Ghislaine?
  7           A.    No.
  8           Q.    How did it come to be that you were in a
  9    casino in Atlantic City?
 10           A.    We, as we were flying, Jeffrey said, Why
 11    don't you go sit in the cockpit to check out the
 12    landing?
 13                 So we were sitting there, and the pilots
 14    told me to go back and tell him that we can't land
 15    in New York and that we were going to have to land
 16    in Atlantic City.
 17                 Jeffrey said, Great, we'll call up Trump
 18    and we'll go to -- I don't recall the name of the
 19    casino, but -- we'll go to the casino.
 20           Q.    And what happened with an ID issue?
 21                 MS. McCAWLEY:      Objection:
 22                 THE WITNESS:      All I knew is that she was
 23           not going to be allowed to gamble, and so I
 24           spent time with her.        We were just walking
 25           around.     I don't remember what we did.         Because




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                                                                    Page 79
  1           either she didn't have an ID or she was too
  2           young.      I don't remember specifically why.            I
  3           just knew that she could not gamble.
  4    BY MS. MENNINGER:
  5           Q.    Okay.    So you walked around with her in
  6    Atlantic City?
  7           A.    Uh-huh.    In the casino.       We never left the
  8    casino.
  9           Q.    Were you disappointed that you couldn't
 10    gamble?
 11           A.    No.
 12           Q.    When you were walking around and talking
 13    to her, did you learn anything about her?
 14           A.    Not that I recall.
 15           Q.    Did you have an impression about why she
 16    was on the trip?
 17           A.    At that point, no.       I was so new to the
 18    whole thing, I was just trying to figure out my
 19    position and who everybody was.           At that point, I
 20    had no idea -- I didn't know anything sexual was
 21    happening at all.       So I just felt like she was just
 22    another visitor.
 23           Q.    Did she tell you at that time that she had
 24    been to New York with Jeffrey before?
 25           A.    Not that I recall.




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                                                                    Page 80
  1           Q.    Did she tell you anything about Ghislaine
  2    during that walk-about?
  3           A.    No.
  4           Q.    And then you all traveled on to New York
  5    that same night?
  6           A.    Yes.
  7           Q.    How long were you in New York for that
  8    visit?
  9           A.    It was maybe two nights.
 10           Q.    And where did you sleep at night?
 11           A.    I slept in one of the guest rooms at his
 12    townhouse on 71st Street.
 13           Q.    And did you stay in the same room as
 14    Virginia?
 15           A.    No.
 16           Q.    Do you know where she stayed?
 17           A.    No.
 18           Q.    All right.
 19                 And then when you got into Manhattan, how
 20    did it come to be that you were doing some
 21    sightseeing?
 22           A.    Well, they knew that I had never been, so
 23    I believe Jeffrey asked the driver and Emmy just to
 24    drive me around to see the Empire State Building.
 25    That's all I remember.         It was late.      It was dark.




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  1    It wasn't long, maybe 30 minutes.
  2            Q.   When you got back to the house, what
  3    happened?
  4            A.   I walked into the front door, and
  5    Ghislaine stuck her head over the grand staircase
  6    and asked me to come upstairs into the living room.
  7            Q.   And can you describe the living room?
  8            A.   Oh, it was very large and very formal.
  9    And Jeffrey and her and Virginia and Prince Andrew
 10    were there.
 11           Q.    What were they all doing when you came in?
 12           A.    Just socializing.       I don't remember them
 13    doing an activity.        It was just being together.
 14           Q.    Was anyone unclothed?
 15           A.    No.
 16           Q.    Was this the same room where Jeffrey had a
 17    desk?
 18           A.    It could have been, but I can't remember.
 19           Q.    Did you go to New York more than one time?
 20           A.    Yes.
 21           Q.    How many times did you go to New York?
 22           A.    Two times.
 23           Q.    This was the only time that you met Prince
 24    Andrew in New York, though?
 25           A.    Yes.




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  1           Q.    When you came upstairs, where was Virginia
  2    sitting?
  3           A.    I don't remember.
  4           Q.    Do you remember what she was wearing?
  5           A.    No.
  6           Q.    She was already there when you got back
  7    from sightseeing?
  8           A.    Yes.
  9           Q.    Tell me what happened with the caricature.
 10           A.    Ghislaine asked me to come to a closet.
 11    She just said, Come with me.          We went to a closet
 12    and grabbed the puppet, the puppet of Prince Andrew.
 13    And I knew it was Prince Andrew because I had
 14    recognized him as a person.          I didn't know who he
 15    was.
 16                 And so when I saw the tag that said Prince
 17    Andrew, then it clicked.         I'm like, that's who it
 18    is.
 19                 And we went down -- back down to the
 20    living room, and she brought it in.            It was just
 21    funny because -- he thought it was funny because it
 22    was him.
 23           Q.    Tell me how it came to be that there was a
 24    picture taken.
 25                 MS. McCAWLEY:      Objection.




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                                                                    Page 83
  1                 THE WITNESS:      I just remember someone
  2           suggesting a photo, and they told us to go get
  3           on the couch.      And so Andrew and Virginia sat
  4           on the couch, and they put the puppet, the
  5           puppet on her lap.
  6                 And so then I sat on Andrew's lap, and I
  7           believe on my own volition, and they took the
  8           puppet's hands and put it on Virginia's breast,
  9           and so Andrew put his on mine.
 10    BY MS. MENNINGER:
 11           Q.    And this was done in a joking manner?
 12                 MS. McCAWLEY:      Objection.
 13                 THE WITNESS:      Yes.
 14    BY MS. MENNINGER:
 15           Q.    Do you recall a photo being taken of that
 16    event?
 17           A.    Yes.
 18           Q.    You've never seen the photo?
 19           A.    No.
 20           Q.    You don't know whose camera it was?
 21           A.    No.
 22           Q.    Virginia was sitting on the couch next to
 23    Andrew, not in a big leather armchair?
 24           A.    Maybe.    I'm just trying to remember how I
 25    remember it.




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  1           Q.    To the best of your recollection, you went
  2    and sat on Andrew's lap, correct?
  3           A.    Yes.
  4           Q.    On his knee?
  5           A.    Yes.
  6           Q.    And Virginia was not sitting on his knee,
  7    correct?
  8           A.    I don't recall.       I just remember I was --
  9    she might have been on his other knee, like Santa.
 10    I don't remember.
 11           Q.    After that, do you remember any other
 12    pieces of that social engagement?
 13           A.    No.
 14           Q.    Do you know where you went?
 15           A.    From there, I went to bed.
 16           Q.    Were people drinking?
 17           A.    No.
 18           Q.    Did you hear Ghislaine Maxwell tell
 19    Virginia to do anything while you were in that room?
 20           A.    No.
 21           Q.    Do you recall what happened the next day
 22    in New York?
 23           A.    Bits.    I mean, that was the day I went to
 24    Victoria's Secret.        I went and walked around by
 25    myself and went to a souvenir shop, got a mug or




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  1    something.      That's all I recall.
  2           Q.     Did you go anywhere with Virginia?
  3           A.     Oh, my gosh, yes.      We went to Phantom of
  4    the Opera.
  5           Q.     Who else went?
  6           A.     I think it was just she and I.          I forgot
  7    about that.        Thank you for that memory.
  8           Q.     It's my job.
  9                  Anything else you remember about that day
 10    in New York?
 11           A.    No.
 12           Q.    You said you had given a massage to
 13    Jeffrey while you were there on that trip or was it
 14    a subsequent trip?
 15           A.    That trip.
 16           Q.    And how did that come to be?
 17           A.    Either he or somebody asked me to go and
 18    do it.      Someone showed me to the room, but I don't
 19    remember who it was.
 20           Q.    Can you describe that room?
 21           A.    Yes.    It was high ceilings, dark.         There
 22    were, like, dark red walls or dark blue walls or
 23    dark blue carpeting or something.            It had a massage
 24    table set up in the middle, and there was a large --
 25    I want to say like a 15-foot photo, either photo or




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                                                                    Page 86
  1    painting of a naked girl.
  2           Q.    Pornographic or artistic?
  3           A.    No.    No, I wouldn't say pornographic.
  4    Artistic.
  5           Q.    Artistic.
  6                 Was Ghislaine present during that massage?
  7           A.    No.
  8           Q.    Did something about that particular
  9    massage session stand out to you?
 10           A.    Yes.    That was when I was first asked to
 11    squeeze and rub his nipples while he pleasured
 12    himself.
 13           Q.    And did he say that's what he was going to
 14    do?
 15           A.    He -- yes, he was just very blunt about
 16    it.    He said, Rub my nipples, I'm going to jerk off.
 17                 I was like, No, done.
 18           Q.    And you walked out?
 19           A.    I did.
 20           Q.    Were there any repercussions of you
 21    walking out?
 22           A.    Amazingly, no.      Knowing what I know now,
 23    I'm surprised I was ever called back.             But, no, I
 24    just stood my ground and walked out.             I'm not
 25    comfortable with that.




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                                                                    Page 87
  1           Q.    Do you know personally whether anyone else
  2    had said no to him?
  3           A.    No.
  4           Q.    Did anyone ever tell you that they had
  5    been in a massage scenario and told him no?
  6           A.    No.
  7           Q.    Do you recall when in your trip the
  8    massage occurred?
  9           A.    Well, it was not the day we landed.            It
 10    must have been that next day that we were there.
 11           Q.    Do you remember anything else about
 12    Virginia from that trip other than the Prince Andrew
 13    thing and Phantom of the Opera?
 14           A.    Well, we were getting ready to leave to go
 15    to the airport, and we were waiting.             She and I sat
 16    on the steps in the foyer.          I do remember just kind
 17    of asking a few questions to try to understand her
 18    role, because at that point now I knew what he
 19    wanted from me in the massage.            And -- but she did
 20    not make it clear to me that she was participating
 21    in that.     So I was prodding gently to see if there
 22    was anything happening that shouldn't have been,
 23    because I was getting the impression that she was --
 24    she told me she was 17.
 25           Q.    She told you she was 17?




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                                                                    Page 88
  1           A.    Uh-huh.
  2           Q.    How did that come up?
  3           A.    I asked her.
  4           Q.    Was anyone else present during this
  5    conversation?
  6           A.    No.
  7           Q.    You mentioned in your earlier testimony
  8    that she seemed orphan-like.
  9           A.    Yes.
 10           Q.    But you said that was something you had
 11    said to Ms. McCawley, correct?
 12           A.    Correct.
 13           Q.    That was not said at the time?
 14           A.    Right.    No.    At the time I was getting an
 15    impression that she did not have a family or she had
 16    walked away from her family.          And it seemed to me,
 17    you know, they had just sort of adopted her, not as
 18    a child, but they would take care of her.
 19           Q.    Did you observe anyone speaking to her as
 20    a child, like make up your bed?
 21           A.    No.
 22           Q.    Did you observe whether she was using
 23    drugs during that trip?
 24           A.    No.
 25                 MS. McCAWLEY:      Objection.




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                                                                      Page 89
  1    BY MS. MENNINGER:
  2            Q.   Did you ever observe her using drugs?
  3            A.   Not that I recall.
  4            Q.   Did she tell you that she was using Xanax?
  5            A.   No.
  6            Q.   Cocaine?
  7            A.   No.
  8            Q.   Ecstasy?
  9            A.   No.
 10           Q.    Heroin?
 11           A.    No.
 12           Q.    When was the second trip you took to New
 13    York?
 14           A.    Later.    Maybe 2005.      I don't know.      I
 15    could look in the flight record.
 16           Q.    That's all right.
 17           A.    I don't remember exactly.
 18           Q.    That's all right.
 19                 You just recall it being several years or
 20    so after?
 21           A.    Yes.    Several years later.
 22           Q.    And just so I'm clear, can you just list
 23    for me the places you recall traveling with Jeffrey?
 24           A.    Yes.    That first trip was New York and the
 25    Virgin Islands.       And then not again until around




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                                                                    Page 90
  1    2005, we went to New Mexico and to New York City and
  2    the Virgin Islands.
  3            Q.   So you were in New York twice and the
  4    Virgin Islands twice and New Mexico once?
  5            A.   Yes.
  6            Q.   Anywhere else?
  7            A.   No.
  8            Q.   Were those primarily on the private plane?
  9            A.   Yes.
 10           Q.    You said you flew commercially once to get
 11    back?
 12           A.    Yes.
 13           Q.    Did you recall any other commercial
 14    flights?
 15           A.    He bought a couple of flights for me when
 16    I wanted to go up to New York for personal reasons.
 17    One time I went to New York commercially, and I was
 18    there with friends, but I did go over to his house
 19    while I was in the city.
 20           Q.    And that's not the trip to New York?
 21           A.    No.    Separate.
 22           Q.    Would you characterize your relationship
 23    with Jeffrey as friendly?
 24                 MS. McCAWLEY:      Objection.
 25                 THE WITNESS:      Yes.




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                                                                    Page 91
  1    BY MS. MENNINGER:
  2           Q.    If you asked him to buy a ticket to New
  3    York, that might be something that he would do?
  4           A.    I never asked him to do anything for me,
  5    but I told him I was interested in something, and he
  6    always offered.
  7           Q.    The second trip to New York, anything
  8    memorable about that?         The one -- I'm sorry, the one
  9    that you mentioned that was with Jeffrey.
 10           A.    I do recall Nadia being there.           While I
 11    massaged, she gave him a facial, but nothing sexual
 12    happened.
 13           Q.    And do you recall if Ghislaine was part of
 14    that trip or not?
 15           A.    I remember her being in New Mexico.
 16           Q.    What do you remember about her being in
 17    New Mexico?
 18           A.    I remember she took me to -- when they
 19    were building the ranch, they had a little
 20    three-bedroom home, just like a prefab house.               She
 21    took me over there.        So we went for a little walk.
 22                 I remember she had two new puppies named
 23    Max and Mini, little Yorkies.           And I want to say
 24    that it was around Jeffrey's birthday when we were
 25    there, but nothing -- there was no, like,




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                                                                    Page 92
  1    celebration or cake with candles.            It was just
  2    another day.
  3           Q.     You said that the Virgin Islands were a
  4    part of that second trip, as well?
  5           A.     Yes.
  6           Q.     And do you remember Ghislaine being part
  7    of the Virgin Islands the second time?
  8           A.     Yes.   That's when she called -- went to
  9    bed and kissed us all on the head and called us her
 10    children.
 11           Q.    Who were the other participants in that
 12    session?
 13           A.    That's who -- I don't recall who was
 14    there.      I want to say that Nadia was.
 15           Q.    But Virginia was not there?
 16           A.    Virginia was not there.
 17           Q.    Do you recall the point in time in which
 18    Virginia went away?
 19           A.    Sort of.     After the trip to New York, I
 20    was given her phone number to call.            And I remember
 21    one time I tried to get ahold of her.             Her boyfriend
 22    answered.     A boyfriend, I would assume, and he
 23    sounded like he was high.          And I couldn't find out
 24    where she was.       And then from there on, she was out
 25    of the picture.




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                                                                    Page 93
  1           Q.    Do you recall how long after the New York
  2    trip that occurred?
  3           A.    I would say it was probably within a month
  4    or two.
  5           Q.    Did she tell you she was working
  6    elsewhere?
  7           A.    No.
  8           Q.    Did you ask her?
  9           A.    No.
 10           Q.    Did she mention that she was a waitress?
 11           A.    No.
 12           Q.    And worked at Taco Bell?
 13           A.    Huh-huh.
 14           Q.    Did you speak to her boyfriend or a
 15    boyfriend at any other time associated with her?
 16           A.    No.
 17           Q.    Did you meet her boyfriend?
 18           A.    No.
 19           Q.    Her fiancé?
 20           A.    No.
 21                 MS. McCAWLEY:      Objection.
 22    BY MS. MENNINGER:
 23           Q.    When you were on the plane with Jeffrey
 24    during these two trips, he was present on all of
 25    those flights?




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                                                                    Page 94
  1            A.   Yes.
  2            Q.   Did you observe any sexual behavior
  3    happening on the plane?
  4            A.   No.    He told me a story of something that
  5    had happened one time.
  6            Q.   Did it involve Ghislaine Maxwell?
  7            A.   No.
  8            Q.   Did it involve Virginia Roberts?
  9            A.   No.
 10           Q.    And you didn't see anything?
 11           A.    No.
 12           Q.    You did give massages to Ghislaine
 13    Maxwell, correct?
 14           A.    Yes.
 15           Q.    On how many occasions?
 16           A.    Maybe somewhere between five and 10.
 17           Q.    Was that over the course of the five
 18    years?
 19           A.    Yes.
 20           Q.    Was there some point during that five
 21    years where Ghislaine Maxwell was not around as
 22    much?
 23           A.    Yes.
 24           Q.    Do you recall when that was?
 25           A.    In the middle.




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                                                                    Page 95
  1           Q.    Did you know why that might be?
  2           A.    No.
  3           Q.    Is that about the time that you started
  4    seeing Nadia more frequently?
  5           A.    Yeah, I guess she was probably in the
  6    picture more.      Her and Sarah both had kind of been
  7    around the most.
  8           Q.    Did you observe Nadia or Sarah appearing
  9    to act like Jeffrey's girlfriend?
 10           A.    Nadia, not Sarah.
 11           Q.    What did you observe?
 12           A.    She was just very loving, kissing him.
 13           Q.    Did you know how old she was?
 14           A.    I didn't know.
 15           Q.    So you gave massages to Ghislaine five or
 16    10 times.     Was there anything unusual about those
 17    massages?
 18           A.    No.
 19           Q.    You've been quoted in the press perhaps as
 20    saying that she wasn't very picky?
 21           A.    About massage?
 22           Q.    About her massages.
 23           A.    Not like Jeffrey, I guess.          I mean, saying
 24    that meant that, you know, I would do whatever I
 25    wanted to do in the massage; whereas, Jeffrey was,




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  1    like, Do my foot, do my leg.          He would kind of
  2    narrate what he wanted.         She just wanted a massage.
  3    So if that makes sense.
  4           Q.    She may have been naked under a towel --
  5           A.    Definitely.
  6           Q.    -- in a regular massage fashion?
  7                 MS. McCAWLEY:      Objection.
  8                 THE WITNESS:      Yes.   Actually, I do recall
  9           an instance where I was massaging her and
 10           Jeffrey came into the room and he did something
 11           sort of sexual to her, whether it was fondling
 12           her or slapping her butt or something, and she
 13           brushed him off like she was embarrassed.
 14    BY MS. MENNINGER:
 15           Q.    So she never asked you to touch her in a
 16    sexual manner, correct?
 17           A.    No.
 18           Q.    And she did not rub her breasts on you,
 19    for example?
 20           A.    No.
 21                 MS. McCAWLEY:      Objection.
 22    BY MS. MENNINGER:
 23           Q.    She did not demand that you perform oral
 24    sex on her?
 25           A.    No.




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                                                                    Page 97
  1           Q.    Did she did not demand that you undress
  2    during your massages?
  3           A.    No.
  4           Q.    There was nothing from her that was sexual
  5    during the massages that you gave to her?
  6                 MS. McCAWLEY:      Objection.
  7                 THE WITNESS:      Correct.
  8    BY MS. McCAWLEY:
  9           Q.    Do you recall when the last time you gave
 10    her a massage was?
 11           A.    I don't recall.
 12           Q.    Do you recall meeting with her in about
 13    2006 when she was in town for some helicopter
 14    training?
 15           A.    I do recall that.
 16           Q.    Do you recall giving her some massages
 17    during that period?
 18           A.    Yes.
 19           Q.    Do you remember going out to dinner with
 20    her and to a movie?
 21           A.    I remember to a movie, and I don't
 22    remember if we went to dinner.            I remember her
 23    cooking dinner.       That was another way she impressed
 24    me:    She knew how to cook like a chef.           She had done
 25    some culinary training.




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                                                                    Page 98
  1            Q.   And you guys had a normal type
  2    conversation?
  3            A.   Yes.    It was very fun.
  4                 MS. McCAWLEY:      Objection.
  5                 MS. MENNINGER:      I would like to take about
  6            a 5-, to 10-minute break, if that's okay.
  7                 THE VIDEOGRAPHER:       Off the record at
  8            11:05.
  9                 (Thereupon, a recess was taken, after
 10           which the following proceedings were held:)
 11                 THE VIDEOGRAPHER:       This is the beginning
 12           of Disk 2.     On the record at 11:25.
 13    BY MS. MENNINGER:
 14           Q.    Hi.    I believe when we left off I was
 15    asking you about massages that you gave to
 16    Ghislaine.
 17                 Did Ghislaine pay you when she got a
 18    massage from you?
 19           A.    Yes.
 20           Q.    Do you know how much she paid you?
 21           A.    I believe it was 200.        It was the going
 22    rate.
 23           Q.    The same as you were getting paid by
 24    Jeffrey, correct?
 25           A.    Yes.




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   1          Q.     Ghislaine was not present when you were
   2    giving massages to Jeffrey, correct?
   3                 MS. McCAWLEY:      Objection.
   4                 THE WITNESS:     Correct.
   5    BY MS. MENNINGER:
   6          Q.     At some point Jeffrey became more
   7    aggressive with you, correct?
   8          A.     Correct.
   9                 MS. McCAWLEY:      Objection.
  10    BY MS. MENNINGER:
  11          Q.     At what point was that?
  12          A.     In the last year.
  13          Q.     And what does that mean to you, "became
  14    more aggressive"?
  15          A.     He was pressuring me to do more than I was
  16    comfortable with doing.
  17          Q.     Is that what ultimately caused you to
  18    leave working for Jeffrey?
  19          A.     What caused me to leave was when it was
  20    made public what I was doing.
  21          Q.     What do you mean by that?
  22          A.     Well, after I had spoken with the police
  23    report -- the police and there was a police report,
  24    I did not realize that was public knowledge,
  25    journalists would get a hold of.           So at one point




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   1    the news channel 12 showed up at my door asking me
   2    questions.
   3          Q.     When Jeffrey was pressuring you to do more
   4    than you felt comfortable with, did you observe him
   5    being more aggressive in general?            Outside of the
   6    massage context?
   7                 MS. McCAWLEY:      Objection.
   8                 THE WITNESS:     No.
   9    BY MS. MENNINGER:
  10          Q.     Do you know whether he was taking any type
  11    of steroids?
  12          A.     No.
  13          Q.     Did you ever see him wearing a patch or
  14    something like that?
  15          A.     I don't recall.
  16          Q.     Did you tell anyone that Jeffrey was
  17    becoming more aggressive with you contemporaneous
  18    with when it was happening?
  19                 MS. McCAWLEY:      Objection.
  20                 THE WITNESS:     No.
  21    BY MS. MENNINGER:
  22          Q.     When Jeffrey asked you to do other things
  23    besides a normal massage, did he offer to pay you
  24    additionally?
  25          A.     Yes.




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   1          Q.     How much?
   2          A.     One hundred dollars extra.
   3                 Can I clarify?
   4          Q.     Absolutely.
   5          A.     He didn't ever say he would pay me more,
   6    but when the massage was more than just a massage
   7    and it was sexual, then he would pay me more.
   8          Q.     It wasn't a discussion; it's just what
   9    happened?
  10          A.     Correct.
  11          Q.     Thank you for clarifying.
  12                 The things that took place with you and
  13    Jeffrey behind closed doors were when you were a
  14    consenting adult, correct?
  15          A.     Yes.
  16                 MS. McCAWLEY:      Objection.
  17                 THE WITNESS:     Correct.
  18    BY MS. MENNINGER:
  19          Q.     And you did not have knowledge of what
  20    took place with other women behind closed doors and
  21    Jeffrey, correct?
  22                 MS. McCAWLEY:      Objection.
  23                 THE WITNESS:     Correct.
  24    BY MS. MENNINGER:
  25          Q.     Do you recall giving an interview to a




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   1    reporter from the Mail on Sunday?
   2          A.     Yes.
   3          Q.     You told that reporter, I believe, that
   4    the police report painted a picture that it was a
   5    big orgy all the time, but it wasn't?
   6          A.     What I saw, I did not see anything out in
   7    the open sexually.       Me, personally.
   8          Q.     Right.    You did not see orgies happening
   9    in the pool, for example?
  10          A.     No.
  11          Q.     You did not see people engaging in sexual
  12    conduct out in the open areas of the home, correct?
  13          A.     Right.
  14                 MS. McCAWLEY:      Objection.
  15    BY MS. MENNINGER:
  16          Q.     When you became aware of the allegations
  17    against Jeffrey, those came as a surprise to you,
  18    correct?
  19                 MS. McCAWLEY:      Objection.
  20                 THE WITNESS:     Correct.
  21    BY MS. MENNINGER:
  22          Q.     And the surprise was that it involved
  23    underaged girls making that allegation, correct?
  24                 MS. McCAWLEY:      Objection.
  25                 THE WITNESS:     Correct.




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                                                                    Page 103
   1    BY MS. MENNINGER:
   2          Q.     You were asked some questions with
   3    Ms. McCawley about nude photographs that were
   4    present in the home?        Homes?
   5          A.     Uh-huh.
   6          Q.     In Palm Beach, I believe you said there
   7    were some in the room where the massage table was?
   8          A.     Yes.
   9          Q.     Can you tell me what you recall seeing?
  10          A.     It wasn't candid photos.        They were all,
  11    like, staged.
  12          Q.     Like a model?
  13          A.     Yes.   And my -- I don't recall necessarily
  14    knowing any of the people in those photos.              I
  15    remember at one point there was a photo of myself,
  16    but...
  17          Q.     Were they fully frontally nude or were
  18    they staged, like, with, you know, parts of bodies
  19    showing?
  20          A.     I really only remember topless photos.              I
  21    don't remember full frontal photos.
  22          Q.     So exposing the breasts, but not exposing
  23    the genitalia?
  24          A.     Not that I recall.       And Ghislaine's
  25    bathroom, I believe there was a photo of her




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   1    topless, or a painting.
   2            Q.   A painting?
   3            A.   Uh-huh.
   4            Q.   Did you see any nude or semi-clad photos
   5    of young girls?
   6            A.   No.
   7            Q.   Preteens, for example?
   8            A.   No.
   9            Q.   Something you would consider child
  10    pornography?
  11          A.     Never.
  12          Q.     Other than in the bathroom or the massage
  13    room at the Palm Beach home, do you recall any other
  14    place in the Palm Beach home where you saw any of
  15    these topless photos of women?
  16          A.     I remember there being photos everywhere,
  17    and the ones that stick out in my memory are the
  18    ones -- there was a photo of Ghislaine with the
  19    Pope.    It would not surprise me if there were naked
  20    photos around.      I just didn't retain them in my
  21    memory.
  22          Q.     So when you say there were photos
  23    everywhere, you mean just photos in general?
  24          A.     Yes.   They had a lot of photos around the
  25    house.




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                                                                   Page 105
   1                 MS. McCAWLEY:      Objection.
   2    BY MS. MENNINGER:
   3          Q.     And Ghislaine was not topless in a photo
   4    with the Pope, just so I'm clear?
   5          A.     Correct.
   6          Q.     I just want to make sure we get that
   7    record really clear.
   8                 So you recall there being photos
   9    everywhere; you just remember a couple sticking out
  10    in your brain as being topless?
  11          A.     Yes.
  12          Q.     And the walls on the staircase to the
  13    upstairs were not just covered with nude
  14    photographs, to your recollection?
  15          A.     To my recollection, I just -- I don't
  16    remember.
  17          Q.     Did you observe what you would consider to
  18    be child pornography on any computer in the home?
  19          A.     No.
  20          Q.     Did you observe anyone taking photographs
  21    of young girls in the home?
  22          A.     No.
  23          Q.     The photograph of yourself that you saw,
  24    was that something that you had posed for?
  25          A.     Not, like, professionally.         But I was just




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   1    sitting, and I believe Jeffrey took the photo.               I
   2    was just sitting on a couch upstairs in the
   3    bathroom.
   4          Q.     It wasn't taken by a hidden camera?
   5          A.     No.    No.   I was smiling in the picture.
   6          Q.     And, likewise, in the New York home, did
   7    you see anything -- you described a large painting
   8    or a photograph that was in the massage room?
   9          A.     Yes.
  10          Q.     Do you recall any other photos of
  11    semi-clad or naked females?
  12          A.     I don't recall.
  13          Q.     Anything that you would consider to be
  14    child pornography that you saw in the New York home?
  15          A.     No.
  16          Q.     And, likewise, in New Mexico?
  17          A.     I don't recall.
  18          Q.     Do you recall seeing any semi-clad photos
  19    in New Mexico at all?
  20          A.     I do not recall.
  21          Q.     And the Virgin Islands?
  22          A.     Yes, in his bathroom, master bathroom.
  23          Q.     And what do you recall, if anything, about
  24    that photo?
  25          A.     There was a photo of me in there.




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                                                                   Page 107
   1          Q.     And, again, was that something that you
   2    were okay with?
   3          A.     Yes.
   4          Q.     Jeffrey Epstein never told you that he
   5    knowingly had sexual contact with an underaged girl,
   6    correct?
   7                 MS. McCAWLEY:      Objection.
   8                 THE WITNESS:     When I asked him if the
   9          accusations were true, after I spoke with the
  10          police, he said yes, but they lied about their
  11          age.
  12    BY MS. MENNINGER:
  13          Q.     How did that conversation come about?
  14          A.     He asked me if the police had ever spoken
  15    to me and I asked him, is it true.
  16          Q.     And you were talking about underaged
  17    girls?
  18          A.     Correct.
  19          Q.     And he said that he had been lied to by
  20    those girls?
  21          A.     Yes.
  22          Q.     Did he say anything else to you about it?
  23          A.     No.
  24          Q.     Did you ask him anything else about it?
  25          A.     No.




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                                                                   Page 108
   1          Q.     Did you attempt to have any conversation
   2    like that with Ghislaine Maxwell?
   3          A.     No.
   4          Q.     I saw one press report that said you had
   5    met Cate Blanchett or Leonardo DiCaprio?
   6          A.     I did not meet them, no.        When I spoke
   7    about them, it was when I was massaging him, and he
   8    would get off -- he would be on the phone a lot at
   9    that time, and one time he said, Oh, that was
  10    Leonardo, or, That was Cate Blanchett, or Bruce
  11    Willis.    That kind of thing.
  12          Q.     So name-dropping?
  13          A.     Yes.
  14          Q.     So you had not met Cate Blanchett or
  15    Leonardo DiCaprio?
  16          A.     I have not.
  17          Q.     Would you remember if you had?
  18          A.     I would hope I would remember.
  19          Q.     Did you meet Cameron Diaz?
  20          A.     No.
  21          Q.     Bill Clinton?
  22          A.     No.
  23          Q.     Did you see Bill Clinton on the island?
  24          A.     No.
  25          Q.     Did you see Bill Clinton in a helicopter




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                                                                   Page 109
   1    being flown by Ghislaine Maxwell?
   2            A.   No.
   3            Q.   Did Ghislaine Maxwell ever tell you that
   4    she had flown Bill Clinton in her helicopter?
   5                 MS. McCAWLEY:      Objection.
   6                 THE WITNESS:     I don't recall her saying
   7            that.
   8    BY MS. MENNINGER:
   9            Q.   Did you ever meet Senator                            ?
  10           A.    I don't know what he looks like.           I might
  11    have.
  12           Q.    If I told you he was from Maine, would
  13    that stick out in your mind?
  14           A.    It should, but I do not recall meeting
  15    him.
  16           Q.    Do you ever remember meeting Prime
  17    Minister Ehud Barak from Israel?
  18           A.    No.
  19           Q.    Do you recall meeting any prime minister?
  20           A.    No.
  21           Q.    Any foreign president?
  22           A.    No.
  23           Q.    Nobel Prize winners?
  24           A.    Not to my knowledge.
  25           Q.    Naomi Campbell?




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                                                                   Page 110
   1          A.     No.
   2          Q.     Al Gore?
   3          A.     No.
   4          Q.     Alan Dershowitz?
   5          A.     No.
   6          Q.     Les Wexner?
   7          A.     No.
   8          Q.     Tom Pritzker?
   9          A.     No.
  10          Q.     Kevin Spacey?      I may have already asked
  11    you, but have you met Kevin Spacey?
  12          A.     No.
  13          Q.     Did you meet Governor Bill Richardson of
  14    New Mexico?
  15          A.     Hmm, I want to say that he was supposed to
  16    come to dinner when we were in New Mexico.              I don't
  17    know if I met him.       I believe that he and Ghislaine
  18    had dinner separate from myself.
  19          Q.     Jean Luc Brunel?
  20          A.     Yes.
  21          Q.     You did meet him?
  22          A.     Yes.
  23          Q.     Tell me about that.
  24          A.     He was just in the house at one time in
  25    Palm Beach.




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                                                                   Page 111
   1          Q.     Socializing?
   2          A.     Yes.
   3          Q.     Did you observe him to be with underaged
   4    girls?
   5          A.     I don't recall.
   6          Q.     Did you give him a massage?
   7          A.     I don't think I did.         I gave a lot of
   8    guests massages.        I don't remember any of their
   9    names.     So it could have been any of those people
  10    besides the movie stars.
  11          Q.     You would know?
  12          A.     Exactly.
  13          Q.     And did you engage in sexual contact with
  14    any of the guests for whom you gave a massage?
  15          A.     No.    That's why he would call me for his
  16    guests, because I was not comfortable with the
  17    sexual contact.      So he still wanted to employ me as
  18    a massage therapist, but it was all normal.
  19          Q.     So this was an actual conversation that
  20    you had?
  21          A.     No, but I -- I noticed.        I noticed that I
  22    wasn't -- I was massaging him less and less and
  23    massaging his guests more.
  24          Q.     So there was a change in the frequency
  25    with which you were giving Jeffrey Epstein massages?




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                                                                   Page 112
   1          A.     Right.
   2          Q.     And an increase corresponding to massages
   3    you were giving to guests, correct?
   4          A.     Yes.
   5          Q.     Did any of the guests for whom you gave a
   6    massage mention that they expected something sexual?
   7          A.     No.
   8          Q.     Did they ask you to engage in sexual
   9    contact and you refused?
  10                 MS. McCAWLEY:      Objection.
  11                 THE WITNESS:     No.
  12    BY MS. MENNINGER:
  13          Q.     Marvin Minsky?
  14          A.     I don't know that.
  15          Q.     George Lucas?
  16          A.     No.
  17          Q.     Donald Trump?
  18          A.     No.
  19          Q.     Did you ever massage Donald Trump?
  20          A.     No.
  21          Q.     Sorry, I have to ask, but did you ever
  22    have sex with Alan Dershowitz in the back of a
  23    limousine with Virginia and Jeffrey present?
  24                 MS. McCAWLEY:      Objection.
  25                 THE WITNESS:     Absolutely not.




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                                                                   Page 113
   1    BY MS. MENNINGER:
   2            Q.   Do you know who Alan Dershowitz is?
   3            A.   I do.
   4            Q.   You would remember --
   5            A.   I would remember that.
   6            Q.   Did you ever see Virginia Roberts with any
   7    of the people that I just asked you about?
   8            A.   No.
   9            Q.   Did Virginia ever talk to you about having
  10    been with any of those people?
  11                 MS. McCAWLEY:      Objection.
  12                 THE WITNESS:     No.
  13    BY MS. MENNINGER:
  14          Q.     Did she tell you that she had met any of
  15    those people?
  16          A.     No.
  17          Q.     I believe you saw in that police report a
  18    reference to a friend of Jeffrey named Glenn and his
  19    wife?
  20          A.     Uh-huh.
  21          Q.     Do you remember them?
  22          A.     Vaguely.
  23          Q.     Tell me what you remember.
  24          A.     I remember they had an apartment in -- on
  25    Breakers Row.      I went up there and massaged.          It may




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                                                                   Page 114
   1    have been more than once, but I only really remember
   2    one time.      But there was nothing sexual.
   3          Q.     Neither with the wife, nor with Glenn?
   4          A.     Right.
   5          Q.     Do you remember the apartment?
   6          A.     I only remember that I had to carry my
   7    massage table up some stairs.
   8          Q.     So you actually gave the massage on a
   9    massage table?
  10          A.     Yes.
  11          Q.     Does that help you place it in time as to
  12    when that might have occurred?            In other words --
  13          A.     Well --
  14          Q.     -- did you get your massage license at
  15    some point and a massage table?
  16                 MS. McCAWLEY:      Objection.
  17                 THE WITNESS:     Yes.    He bought me my
  18          massage table around the time that I went to
  19          massage school.       So it could have been any time
  20          after.    If I thought really hard, I could
  21          remember when I went to school.           But it -- I
  22          want to say it's around 2003.
  23    BY MS. MENNINGER:
  24          Q.     Nothing sexual happened with Glenn?
  25          A.     No.




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                                                                   Page 115
   1          Q.     Did Glenn ask you to give him a massage on
   2    the floor of the home?
   3          A.     I don't recall.
   4          Q.     Did you ever discuss Glenn with Virginia?
   5          A.     Not to my recollection.
   6          Q.     Did you ever go to Virginia's home?
   7          A.     No.
   8          Q.     Do you know where she lived?
   9          A.     No.
  10          Q.     Did she talk about it?
  11          A.     Not that I remember.
  12          Q.     Did you see anything in your interactions
  13    with Virginia that led you to believe that she was a
  14    sex slave?
  15                 MS. McCAWLEY:      Objection.
  16                 THE WITNESS:     No.
  17    BY MS. MENNINGER:
  18          Q.     Did you see anyone forcing her to remain
  19    in the home?
  20          A.     No.
  21          Q.     Did you see her look traumatized at some
  22    point?
  23                 MS. McCAWLEY:      Objection.
  24                 THE WITNESS:     No.
  25




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                                                                   Page 116
   1    BY MS. MENNINGER:
   2          Q.     Did you see anything that led you to
   3    believe Virginia Roberts had been trafficked,
   4    sexually trafficked to third parties?
   5                 MS. McCAWLEY:      Objection.
   6                 THE WITNESS:     No.
   7    BY MS. MENNINGER:
   8          Q.     Did Virginia ever tell you that she had
   9    been trafficked?
  10          A.     No.
  11                 MS. McCAWLEY:      Objection.
  12    BY MS. MENNINGER:
  13          Q.     Did you hear anyone direct Virginia
  14    Roberts to go have sex with someone?
  15          A.     No.
  16          Q.     Did Jeffrey ever ask you to go have sex
  17    with another person?
  18          A.     No.
  19          Q.     Did Ghislaine Maxwell ever ask you to go
  20    have sex with another person?
  21          A.     No.
  22          Q.     Did Ghislaine Maxwell ever ask you to give
  23    a massage to someone else?
  24          A.     No.
  25          Q.     Did Ghislaine Maxwell ever ask you to




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                                                                   Page 117
   1    dress up in any outfit?
   2          A.     No.
   3          Q.     Did she ever buy you an outfit for you to
   4    wear in terms of a sexual profile?
   5          A.     No.
   6          Q.     Did she tell you what kind of clothes you
   7    should buy?
   8          A.     No.
   9          Q.     Did she direct you to go get Brazilian
  10    bikini waxes?
  11          A.     No.
  12          Q.     Did she direct you to go get your teeth
  13    whitened?
  14          A.     No.
  15                 MS. MENNINGER:      I would like to mark as an
  16          exhibit -- I have no recollection what number
  17          we're on.     Thank you.     Exhibit 5.
  18                 (The referred-to document was marked by
  19          the court reporter for Identification as
  20          Sjoberg Exhibit 5.)
  21    BY MS. MENNINGER:
  22          Q.     Have you seen this article before?
  23          A.     It has followed me everywhere.
  24                 MS. McCAWLEY:      I'm sorry.     Can I just ask
  25          you to put the Bates numbers on the record?




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                                                                   Page 118
   1                 MS. MENNINGER:      Sure.    It's Bates marked
   2          Giuffre 1131 through 1138.
   3    BY MS. MENNINGER:
   4          Q.     What do you mean it has followed you
   5    everywhere?
   6          A.     Well, if you Google me, it comes up.
   7          Q.     I wanted to just ask you a couple of
   8    questions.
   9                 On the third page, towards the bottom,
  10    there is a photograph that begins "we had a picture
  11    taken," and just to orient you, this is in the
  12    discussion around the Prince Andrew meeting you had.
  13                 Did you meet Prince Andrew any other time
  14    besides the time you already described in your
  15    testimony?
  16          A.     No.
  17          Q.     If you want to take a look at that
  18    paragraph before I ask you questions.
  19          A.     Okay.
  20          Q.     In that paragraph, it describes that
  21    Andrew -- Virginia sat on the chair, and then Andrew
  22    sat on another chair, and you sat on his lap.
  23                 MS. McCAWLEY:      Objection.
  24    BY MS. MENNINGER:
  25          Q.     Is that what it says?




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                                                                   Page 119
   1          A.     That's what it says.
   2          Q.     Do you recall telling that to the
   3    reporter?
   4          A.     Yes.
   5          Q.     And this was back in 2007 or so?
   6          A.     Yes.
   7          Q.     As you sit here today, does that make
   8    it -- does that refresh your recollection that
   9    Virginia was sitting in one chair and you were
  10    sitting on another, with Andrew?
  11          A.     Yeah.    If I said that, then I remember it
  12    that way.     I'm just trying to remember.          Whether we
  13    were on a couch or a chair, I just remember the
  14    boobs part, the hand on the boobs.
  15          Q.     I understand that part stands out.
  16                 And I also completely understand if you
  17    don't remember things that happened a long time ago.
  18          A.     Right.
  19          Q.     I'm just wondering if, having looked at
  20    this news article, it refreshes your memory that
  21    Virginia was sitting in a different place?
  22          A.     In a different chair?
  23          Q.     Does it?
  24          A.     It does say that.       Does it refresh my
  25    memory?




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                                                                   Page 120
   1          Q.     Okay.   That's fine.
   2          A.     Yeah, sure.
   3          Q.     If it doesn't, it doesn't.         I'm just
   4    asking.
   5                 Did Virginia say anything to you about
   6    having met Prince Andrew before this time in New
   7    York?
   8                 MS. McCAWLEY:      Objection.
   9                 THE WITNESS:     She did not say.
  10    BY MS. MENNINGER:
  11          Q.     Did Prince Andrew say or do anything that
  12    led you to believe that he had met Virginia prior to
  13    that time?
  14          A.     I don't recall.
  15          Q.     Did you ever see Al Gore on the island?
  16          A.     No.
  17          Q.     Did you see his wife, Tipper Gore, on the
  18    island?
  19          A.     No.
  20          Q.     What is your understanding of what the
  21    lawsuit we are here today is about?
  22          A.     I understand that Ghislaine is calling
  23    Virginia a liar, and so Ghislaine is suing Virginia.
  24    I'm sorry.     Strike that.      Reverse it.
  25                 Right, Virginia is suing Ghislaine for




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                                                                   Page 121
   1    defamation.
   2          Q.     And do you know what Virginia said about
   3    Ghislaine?
   4          A.     That Ghislaine recruited her.
   5          Q.     Do you know anything else that Virginia
   6    said about Ghislaine?
   7          A.     Only what was spoken to me.
   8          Q.     And I should clarify.         Don't tell me
   9    anything your lawyer has conveyed to you.
  10          A.     Exactly.    That's all I know.        I've met
  11    with Virginia once last summer.
  12          Q.     Okay.   Tell me about that.
  13          A.     She -- there was a moderator between us,
  14    like an investigator.        And she was in Palm Beach.
  15    And it was more about Jeffrey.            It was less about
  16    Ghislaine.     I don't remember specifically about
  17    Ghislaine at all.
  18          Q.     So you met with Virginia and an
  19    investigator at the same time?
  20          A.     Yes.
  21          Q.     And they were what, talking to you about
  22    Jeffrey in what context?
  23                 MS. McCAWLEY:      Objection.
  24                 THE WITNESS:     Basically, they were trying
  25          to find people that would help her get her




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                                                                   Page 122
   1          story out, because this is when Dershowitz --
   2          Dershowitz was saying nothing was happening and
   3          he was calling her a liar.          And she was just
   4          trying to find people to back up her story.
   5    BY MS. MENNINGER:
   6          Q.     And what did you understand her story to
   7    be?   Did she tell you?
   8          A.     That she was recruited to give massages,
   9    sexual massages, and have sex with people such as
  10    Dershowitz and Andrew.        But I knew none of that at
  11    the time.
  12          Q.     Right.    Did you tell them anything -- did
  13    you tell them during that meeting that you knew of
  14    anything about her being recruited to give sex to
  15    either Jeffrey or to other people?
  16                 MS. McCAWLEY:      Objection.
  17                 THE WITNESS:     Can you rephrase?
  18    BY MS. MENNINGER:
  19          Q.     Yes.   That wasn't a very good question.
  20                 What did you say during this meeting with
  21    Virginia and her investigator?
  22          A.     Basically that I believed her, even though
  23    I -- she never spoke to me specifically about what
  24    was going on; that once I learned everything that
  25    happened based on reading the police report, I




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                                                                   Page 123
   1    believed her side of the story.
   2          Q.     And did she tell you what her side of the
   3    story was?
   4          A.     You know, just that she wasn't a liar;
   5    that, you know, she was there to have sex with men
   6    that Jeffrey wanted her to sleep with.
   7          Q.     Did she tell you in that meeting who she
   8    had sex with?
   9          A.     No.
  10          Q.     Did she name any of the famous people?
  11          A.     Only Dershowitz came up.
  12          Q.     Did you two talk about the incident in New
  13    York with the puppet?
  14          A.     I don't recall.
  15          Q.     And you formed this opinion about whether
  16    she was a liar based on things that you've read in
  17    the police report?
  18                 MS. McCAWLEY:      Objection.
  19                 THE WITNESS:     I formed my opinion based on
  20          my experience in the house.
  21    BY MS. MENNINGER:
  22          Q.     Okay.   And what experience in the house
  23    helped you form your opinion that what Virginia is
  24    saying is true?
  25          A.     You know, Jeffrey being open with me about




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                                                                   Page 124
   1    what other girls did for him and that I was not one
   2    of those girls.
   3                 He was always trying to recruit me almost
   4    in a way that I could be one of them and travel with
   5    him and live the life of luxury if I only -- if only
   6    I did this.
   7                 So after five years of learning what was
   8    happening, I can look back knowing -- I only knew
   9    Virginia for a very short time.           Looking back, I can
  10    make assumptions about what was required of her.
  11          Q.     Did she tell you how old she was when she
  12    said she started working with Jeffrey?
  13          A.     She didn't.
  14          Q.     Did she tell how long she had worked with
  15    Jeffrey?
  16          A.     No.
  17          Q.     Have you read all the things that have
  18    been attributed to her in the press?
  19          A.     Many of them.
  20                 MS. McCAWLEY:      Objection.
  21                 THE WITNESS:     I don't know that I've read
  22          all of them, but I have read some.
  23    BY MS. MENNINGER:
  24          Q.     In this meeting with Virginia and the
  25    investigator, you said Ghislaine Maxwell did not




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                                                                   Page 125
   1    come up?
   2            A.   Not that -- not that I recall.
   3            Q.   Do you know the name of the investigator?
   4            A.   Valerie Rivera.
   5            Q.   Have you read the statement that Ghislaine
   6    Maxwell issued to the press?
   7            A.   No.
   8            Q.   Do you know what it says?
   9            A.   No.
  10          Q.     You said you have read some of Virginia's
  11    statements to the press but not all of them?
  12          A.     I don't know how many there are.           I know I
  13    read something.      I don't know if I read all of them.
  14          Q.     Have you read her book manuscript?
  15          A.     No.
  16                 MS. McCAWLEY:      Objection.
  17    BY MS. MENNINGER:
  18          Q.     Did she tell you that she was writing a
  19    book?
  20          A.     No.
  21          Q.     Did she tell you she was trying to get a
  22    book deal?
  23                 MS. McCAWLEY:      Objection.
  24                 THE WITNESS:     No.
  25




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                                                                    Page 126
   1    BY MS. MENNINGER:
   2            Q.   Did she tell you that he hired a ghost
   3    rider?
   4            A.   No.
   5                 MS. McCAWLEY:      Objection.
   6    BY MS. MENNINGER:
   7            Q.   Did she tell you that she hired a literary
   8    agent?
   9                 MS. McCAWLEY:      Objection.
  10                 THE WITNESS:     No.
  11    BY MS. MENNINGER:
  12          Q.     Did you speak with John Connelly?
  13          A.     Yes.
  14          Q.     When did you speak with John Connelly?
  15          A.     He was first calling me around the time
  16    that everything was coming out in 2006.             And I
  17    didn't say a lot to him, but I did say a few things.
  18    And I asked him not to use my name, and he used my
  19    name.    And then he quoted me as saying things I
  20    never said.
  21          Q.     Do you know to whom he quoted things that
  22    you had never said?
  23          A.     I don't remember the news outlet, no.
  24          Q.     So it was published somewhere?
  25          A.     Somewhere on the Internet.




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                                                                   Page 127
   1          Q.      Something that you said to John Connelly
   2    got twisted?
   3          A.      Yes.   He put words in my mouth.
   4          Q.      And it was misreported and published?
   5                  MS. McCAWLEY:     Objection.
   6                  THE WITNESS:    Correct.
   7    BY MS. MENNINGER:
   8          Q.      Have you spoken to him lately?
   9          A.      No.    He called me again at the beginning
  10    of last year, around New Year's last year, but I did
  11    not return his call.
  12          Q.     Do you recall what it is he attributed to
  13    you falsely?
  14          A.     It was mostly about how I felt about
  15    certain things.       I don't remember specifically what
  16    he said, but he was giving an opinion for me that I
  17    never spoke to him about.
  18          Q.     And that you did not hold?
  19          A.     Well, I can't remember what it was.           Yeah.
  20          Q.     Okay.    Do you know whether Virginia has
  21    lied about any of her experience?
  22                 MS. McCAWLEY:      Objection.
  23                 THE WITNESS:     I don't know that she has
  24          lied.
  25




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                                                                   Page 128
   1    BY MS. MENNINGER:
   2          Q.     Do you know that she has told the truth?
   3          A.     As far as I know, she has.
   4          Q.     Do you know whether the press has
   5    accurately reported everything that Virginia has
   6    said?
   7                 MS. McCAWLEY:      Objection.
   8                 THE WITNESS:     I don't know.
   9    BY MS. MENNINGER:
  10          Q.     Other than John Connelly and the police,
  11    who else have you spoken to about your experience?
  12          A.     Well, the woman from the Daily Mail.            Her
  13    name is Wendy Leigh.
  14          Q.     And that's Defendant's Exhibit 5 -- not
  15    Defendant's Exhibit, just Exhibit 5, correct?
  16          A.     Correct.
  17          Q.     Did Wendy Leigh accurately report your
  18    statements?
  19          A.     She did a little bit of embellishment, as
  20    well, but the facts are all true.
  21          Q.     And what parts do you believe are
  22    embellished?
  23          A.     Near the end, when she was doing a
  24    summary, when she wrote, "Sure, I had a good time,
  25    but I also think it damaged me a bit."             I don't




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                                                                   Page 129
   1    recall saying that.
   2                 And there's another part in here where she
   3    said I said that I made a deal with the devil, which
   4    I never would have said that.          The words she used.
   5          Q.     On page 2 of 8, it's about -- it's about
   6    even with the hem of your skirt.
   7          A.     "I made a pack with the devil in exchange
   8    for excitement and glamour.          I was only a college
   9    student.     I was hard-up and foolish."
  10                 That I never said, any of that.          I was a
  11    college student, that's true.          "Hard-up and
  12    foolish," I would have never called myself foolish.
  13          Q.     Were you paid any money for this
  14    interview?
  15          A.     I was paid $1,500.
  16          Q.     And how long did the interview last?
  17          A.     A couple of hours.
  18          Q.     Where did it take place?
  19          A.     At Cafe Boulud in the Brazilian Court
  20    Hotel in Palm Beach.
  21          Q.     Who else besides Wendy Leigh and John
  22    Connelly and the police --
  23                 MS. McCAWLEY:      Objection.
  24    BY MS. MENNINGER:
  25          Q.     -- and Virginia and the investigator --




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                                                                     Page 130
   1                  MS. McCAWLEY:     Objection.
   2    BY MS. MENNINGER:
   3           Q.     -- did you talk to about your experience?
   4           A.     Family and friends.
   5           Q.     Did you speak to any other reporters?
   6           A.     I had other reporters calling me.          I
   7    avoided almost all of the calls.           I had someone
   8    coming at me, stalking me.         I do not know who he
   9    was.     He offered me $25,000 to give a story, and I
  10    turned him down.
  11           Q.    Who?
  12           A.    He showed up in my work multiple times.
  13           Q.    There were other stories printed in the
  14    Daily Mail, not by Wendy Leigh, later.
  15                 Did you see any of those stories?           I'm
  16    sorry.      Let me be a little clearer.        That attributed
  17    comments to you.
  18           A.    I don't recall specifically, but I feel
  19    like I stayed on top of it, and I wasn't surprised
  20    when my name was brought up.
  21           Q.    Do you recall giving another interview?
  22           A.    No, never.
  23           Q.    Do you recall anything that was printed
  24    other than the John Connelly thing that you believe
  25    to be inaccurate?




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                                                                   Page 131
   1          A.     No.
   2          Q.     Was there anybody else present when you
   3    were interviewing with Wendy Leigh?
   4          A.     No.
   5          Q.     Was she recording it on a recorder?
   6          A.     Yes.
   7          Q.     Have you ever heard that recording?
   8          A.     No.
   9          Q.     Do you know whether the police were
  10    recording their interview with you?
  11          A.     Yes.
  12          Q.     Have you ever heard that recording?
  13          A.     No.
  14          Q.     Did you ever receive notification that you
  15    were named as a victim in any of Jeffrey Epstein's
  16    criminal cases?
  17          A.     No.
  18          Q.     Other than the $1,500 from Wendy Leigh,
  19    did you receive any other money for making any
  20    statements?
  21          A.     No.
  22          Q.     Did you give an interview to Virginia's
  23    attorneys?
  24          A.     Yes.   Right?
  25                 MS. McCAWLEY:      You can say yes.




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                                                                   Page 132
   1    BY MS. MENNINGER:
   2          Q.     When was that?
   3          A.     Two weeks ago, roughly.
   4          Q.     And who was present during that meeting?
   5          A.     My lawyer and several others.
   6          Q.     Several other what?
   7          A.     Lawyers.    I don't know.      I don't know who
   8    they all are.
   9          Q.     So Ms. McCawley you recall being there?
  10          A.     Yes.
  11          Q.     Ms. Schultz you recall being there?
  12          A.     No.    I didn't learn it, no.       You weren't
  13    there.
  14          Q.     Brad Edwards?
  15          A.     Yes.
  16          Q.     Paul Cassell?
  17          A.     Maybe.    I don't remember.
  18          Q.     And was that interview recorded?
  19          A.     I don't know.      It may have been.       I don't
  20    remember.
  21          Q.     Did anyone ask your permission to record
  22    it?
  23          A.     Maybe.    I don't recall.
  24          Q.     Were you shown any documents during that
  25    meeting?




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                                                                   Page 133
   1          A.     Flight logs.
   2          Q.     Any other documents?
   3          A.     No.
   4          Q.     What did Ms. McCawley or Mr. Edwards or
   5    any of the other lawyers say to you about Ghislaine
   6    Maxwell?
   7          A.     They just asked impressions.          They never
   8    said anything about her.
   9          Q.     Were you shown a copy of any report that
  10    came out of that interview?
  11          A.     Which interview?
  12          Q.     The one with the -- Virginia's attorneys.
  13                 MS. McCAWLEY:      Objection.
  14                 THE WITNESS:     No.
  15    BY MS. MENNINGER:
  16          Q.     You testified earlier about an incident
  17    with a camera that Ghislaine Maxwell had given you.
  18    I want to ask you some questions about that.
  19          A.     Sure.
  20          Q.     Do you know when that was?
  21          A.     That was in 2002.
  22          Q.     And why does that date stick out?
  23          A.     Because I was living -- where I was living
  24    specifically and where I had the phone call.
  25          Q.     Tell me what you remember about the




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                                                                   Page 134
   1    conversation.
   2          A.     I had been over to her house prior
   3    massaging Jeffrey.       And I got a phone call from her,
   4    and she told me she had a camera for me for my
   5    photography class, but yet, she couldn't give it to
   6    me yet because during the massage I didn't finish my
   7    job and she had to finish it for me.
   8          Q.     Did she say what she meant?
   9          A.     No, but I knew.
  10          Q.     Was there any other time that you had
  11    discussed with her finishing your job?
  12          A.     Not that I recall.
  13          Q.     Any other time you just recall discussing
  14    with her anything about your sexual contact with
  15    Jeffrey?
  16                 MS. McCAWLEY:      Objection.
  17                 THE WITNESS:     No.
  18    BY MS. MENNINGER:
  19          Q.     Did she give you the camera?
  20          A.     I did get the camera.
  21          Q.     Okay.   When did she give you the camera?
  22          A.     I guess the next time I went to the house.
  23          Q.     What was said at that time?
  24          A.     I honestly don't know that she handed it
  25    to me.     I remember it being there for me.




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                                                                   Page 135
   1          Q.     What kind of camera was it?
   2          A.     A Canon Rebel 35-millimeter.
   3          Q.     Do you still have it?
   4          A.     I do not.     No one uses 35-millimeter
   5    anymore.
   6          Q.     What's that?
   7          A.     No one uses 35-millimeter.
   8          Q.     Back to the cell phone conversation.
   9          A.     Right.
  10          Q.     Was it your birthday?
  11          A.     It was just I was taking a photography
  12    class and I needed a camera.
  13          Q.     Do you know her to be a photographer?
  14          A.     Not a professional, but I knew she was
  15    interested in photography.
  16          Q.     Did you see her with cameras?
  17          A.     Yes.
  18          Q.     Did you see her taking photographs of nude
  19    people?
  20          A.     No.
  21          Q.     Did she ever ask you to take a photograph
  22    of you semi-clad or naked?
  23          A.     Did she ever ask to take a photo of me?
  24          Q.     Semi-clad or naked.
  25          A.     No.




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                                                                   Page 136
   1          Q.     Did she ever ask to take a photograph of
   2    you at any point?
   3          A.     I don't remember.
   4          Q.     Did you tell anyone else about this
   5    conversation:      You couldn't give it to me now
   6    because I hadn't finished my job?
   7          A.     No.
   8                 MS. MENNINGER:      I think I'm going to
   9          reserve the rest of my time for recross, so you
  10          all, I guess, can take a break.
  11                 MR. LOUIS:     Can I have one second?
  12                 MS. MENNINGER:      Sure.
  13                 MS. McCAWLEY:      We can go off the record?
  14                 THE VIDEOGRAPHER:       Off the record at
  15          12:09.
  16                 (Thereupon, a recess was taken, after
  17          which the following proceedings were held:)
  18                 THE VIDEOGRAPHER:       On the record at 12:10.
  19    BY MS. MENNINGER:
  20          Q.     Sorry, just a couple of more questions.
  21                 It sounds like maybe there was an
  22    additional telephone conference that one might
  23    construe as a meeting with attorneys; is that true?
  24          A.     Correct.
  25          Q.     All right.     Tell me about that.




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                                                                   Page 137
   1          A.     They just wanted to -- we had met prior,
   2    and they just wanted to clarify a few things and ask
   3    a few more questions.
   4          Q.     Okay.   What did they clarify?
   5          A.     Any other specific times that I had, you
   6    know, seen Ghislaine naked, or if I had, you know,
   7    had any sexual massages with her, any type of
   8    questions like that.
   9          Q.     Okay.   And what did you tell them about
  10    having any sexual massages with Ghislaine?
  11          A.     That I was not asked to do -- to perform
  12    anything with her.
  13          Q.     And you did not?
  14          A.     Correct.
  15          Q.     And what did you tell them about specific
  16    times of seeing Ghislaine Maxwell naked?
  17          A.     Only when she would swim or get a massage.
  18          Q.     And that's swimming -- you mentioned
  19    earlier skinny-dipping?
  20          A.     Correct.
  21          Q.     And I think you said perhaps some other
  22    time that you saw her jump off a dock and swim --
  23          A.     Correct, yes.
  24          Q.     -- in the nude?
  25          A.     Yes.




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                                                                   Page 138
   1          Q.     And then you saw her under a towel during
   2    massages?
   3          A.     Yes.
   4          Q.     Is there any other time that you recall
   5    seeing Ghislaine Maxwell naked?
   6          A.     No.
   7          Q.     Is there anything else about that
   8    telephone conference with the attorneys to clarify
   9    that you recall, the topics?
  10          A.     No.
  11                 MS. MENNINGER:      All right.     Thank you.       I
  12          think we can go off the record now.
  13                 THE VIDEOGRAPHER:       Off the record at
  14          12:12.
  15                 (Thereupon, a lunch recess was taken,
  16          after which the following proceedings were
  17          held:)
  18                 THE VIDEOGRAPHER:       On the record at 12:54.
  19                 F U R T H E R      E X A M I N A T I O N
  20    BY MS. McCAWLEY:
  21          Q.     Johanna, I'm going to ask you a couple of
  22    more just follow-up questions.
  23                 When Laura was talking to you, she
  24    mentioned some names of famous people that you --
  25    most of which you had not met.




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                                                                   Page 139
   1                 Did you ever meet anybody famous when you
   2    were with Jeffrey?
   3            A.   I met Michael Jackson.
   4            Q.   Oh, really?     And where was that?
   5            A.   At his house in Palm Beach.         At Jeffrey's
   6    house in Palm Beach.
   7            Q.   Did you massage him?
   8            A.   I did not.
   9            Q.   Anybody else you remember?         I know you
  10    mentioned David Copperfield earlier.            Anybody else?
  11          A.     No, I'd remember that.
  12          Q.     I believe you also testified that you had
  13    never had a massage before you started working with
  14    Jeffrey and Ghislaine; is that correct?
  15          A.     I don't recall having a massage before
  16    then.
  17          Q.     And I think you said on the first day,
  18    when you were doing the clerical work, Maxwell
  19    mentioned that you might be able to get a massage;
  20    is that correct?
  21          A.     Yes.
  22          Q.     Did you tell Maxwell that you had never
  23    had a massage at that point?
  24          A.     I don't remember.
  25          Q.     Did you remember telling Jeffrey that you




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                                                                   Page 140
   1    had never had a massage?
   2          A.     No.
   3          Q.     And then you were talking about the
   4    massage -- the first massage when you were being in
   5    the room with Jeffrey and Emmy?
   6          A.     Uh-huh.
   7          Q.     And I know you said Emmy was naked or took
   8    off her clothes at some point?
   9          A.     Uh-huh.
  10          Q.     And then laid on the table.
  11                 And then you changed positions with her;
  12    is that what happened?
  13          A.     Yes.   I don't remember the sequence, but
  14    at one point she was, I was, and Jeffrey was.
  15          Q.     And in the -- in the time when there was
  16    changeover, for example, when you're on the table
  17    and Emmy is not on the table and Jeffrey is not on
  18    the table, did Emmy at that point remain naked or
  19    did she actually stop and get dressed and continue
  20    massaging?
  21          A.     I don't recall her getting dressed, but I
  22    would probably remember if she massaged naked.
  23          Q.     Do you know if Jeffrey remained naked
  24    during that massage?
  25          A.     He was never, like, naked standing up.              He




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                                                                    Page 141
   1    always covered himself with a towel.
   2          Q.     I believe I asked this, but I just want to
   3    clarify to make sure that I did:           Did Maxwell ever
   4    ask you to bring other girls over to -- for Jeffrey?
   5          A.     Yes.
   6          Q.     Yes?
   7          A.     Yes.
   8          Q.     And what did you -- did you do anything in
   9    response to that?
  10          A.     I did bring one girl named                     --
  11    no.                 -- it was some girl named
  12    that I had worked with at a restaurant.             And I
  13    recall Ghislaine giving me money to bring her over;
  14    however, they never called her to come.
  15          Q.     And then I believe you mentioned that one
  16    of your physical fitness instructors, you brought a
  17    physical fitness instructor; was that correct?
  18          A.     Correct.
  19          Q.     And what did she do?
  20          A.     She gave him a -- like a training session,
  21    twice.
  22          Q.     Twice.
  23                 Did anything sexual in nature happen
  24    during the session?
  25          A.     At one point he lifted up her shirt and




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                                                                   Page 142
   1    exposed her bra, and she grabbed it and pulled it
   2    down.
   3          Q.     Anything else?
   4          A.     That was the conversation that he had told
   5    her that he had taken this girl's virginity, the
   6    girl by the pool.
   7          Q.     Okay.   Did Maxwell ever say to you that it
   8    takes the pressure off of her to have other girls
   9    around?
  10          A.     She implied that, yes.
  11          Q.     In what way?
  12          A.     Sexually.
  13          Q.     And earlier Laura asked you, I believe, if
  14    Maxwell ever asked you to perform any sexual acts,
  15    and I believe your testimony was no, but then you
  16    also previously stated that during the camera
  17    incident that Maxwell had talked to you about not
  18    finishing the job.
  19                 Did you understand "not finishing the job"
  20    meaning bringing Jeffrey to orgasm?
  21                 MS. MENNINGER:      Objection, leading, form.
  22    BY MS. McCAWLEY:
  23          Q.     I'm sorry, Johanna, let me correct that
  24    question.
  25                 What did you understand Maxwell to mean




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                                                                   Page 143
   1    when she said you hadn't finished the job, with
   2    respect to the camera?
   3                 MS. MENNINGER:      Objection, leading, form.
   4                 THE WITNESS:     She implied that I had not
   5          brought him to orgasm.
   6    BY MS. McCAWLEY:
   7          Q.     So is it fair to say that Maxwell expected
   8    you to perform sexual acts when you were massaging
   9    Jeffrey?
  10                 MS. MENNINGER:      Objection, leading, form,
  11          foundation.
  12                 THE WITNESS:     I can answer?
  13                 Yes, I took that conversation to mean that
  14          is what was expected of me.
  15    BY MS. McCAWLEY:
  16          Q.     And then you mentioned, I believe, when
  17    you were testifying earlier that Jeffrey told you a
  18    story about sex on the plane.          What was that about?
  19                 MS. MENNINGER:      Objection, hearsay.
  20                 THE WITNESS:     He told me one time Emmy was
  21          sleeping on the plane, and they were getting
  22          ready to land.       And he went and woke her up,
  23          and she thought that meant he wanted a blow
  24          job, so she started to unzip his pants, and he
  25          said, No, no, no, you just have to be awake for




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                                                                   Page 144
   1            landing.
   2    BY MS. McCAWLEY:
   3            Q.   Do you recall witnessing any sexual acts
   4    on the plane?
   5            A.   No.
   6            Q.   Did Emmy ever talk to you about performing
   7    sexual acts on the plane?
   8            A.   No.
   9            Q.   We looked earlier at the police report,
  10    and I just want to clarify, you identified some
  11    areas where there were discrepancies in that report.
  12                 And you can take another look at it if you
  13    want, but other than the discrepancies you pointed
  14    out, is that a recollection of what you remember
  15    telling the detective?
  16          A.     Yes.
  17                 MS. MENNINGER:      Objection, outside the
  18          scope of cross.
  19    BY MS. McCAWLEY:
  20          Q.     You mentioned that there was a time when
  21    you noticed that Maxwell was around a little bit
  22    less?
  23          A.     Uh-huh.
  24          Q.     And I believe you said that was during the
  25    middle of the time you were with Jeffrey.




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                                                                   Page 145
   1                 Do you remember approximately when that
   2    was year-wise?
   3          A.     I don't.     I would say it was probably
   4    sometime between 2003 and 2004.
   5          Q.     And what made you think that?
   6          A.     I just saw her less and less at the house.
   7          Q.     Were you there more at the house during
   8    that time period?
   9          A.     No, not necessarily.         It's just at the
  10    beginning, she was around a lot.           And then I would
  11    see her occasionally without him.           The one time we
  12    spent a few days together in 2006, she wasn't there
  13    at all.
  14          Q.     So you saw her in the -- is it fair to say
  15    that you saw her in the 2005 and 2006 time frame?
  16          A.     Yes.
  17          Q.     Then we were talking about the photography
  18    earlier and about the photographs.
  19                 Did Maxwell ever ask you to take nude
  20    photos of yourself for Jeffrey?
  21          A.     She asked me to take photos of myself for
  22    Jeffrey, yes.
  23          Q.     And did you do that?
  24          A.     I did not.
  25          Q.     And the photos that were around that were




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                                                                   Page 146
   1    in the bathroom, that you mentioned a couple of
   2    times places that there were photos of you, who took
   3    those?
   4          A.      He did.
   5          Q.      And when we were talking about the Palm
   6    Beach house and you were describing an area where
   7    there were just a lot of photographs, is it fair to
   8    say that there could have been nude photographs
   9    amongst those photos that you saw?
  10          A.     Yes.
  11          Q.     And earlier you testified that you don't
  12    have knowledge of what happens behind closed doors,
  13    but you also said that Jeffrey had told you what
  14    other girls did for him and that he wanted you to do
  15    those things for him.
  16                 Is it fair to say that you knew that other
  17    girls were performing sexual acts?
  18          A.     Yes.
  19                 MS. MENNINGER:      Objection, foundation,
  20          form.
  21    BY MS. McCAWLEY:
  22          Q.     And I know you mentioned previously that
  23    your relationship and the interaction with him
  24    progressed over time.
  25                 Did there come a time when you were




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                                                                   Page 147
   1    expected to have sexual intercourse with Jeffrey?
   2          A.     Yes.
   3          Q.     And when was that?
   4          A.     2005.
   5                 MS. McCAWLEY:      That's it.     I just do want
   6          to also put on the record that we're
   7          designating the testimony as confidential under
   8          the protective order.
   9                F U R T H E R     E X A M I N A T I O N
  10    BY MS. MENNINGER:
  11          Q.     Okay.   You just testified that you have
  12    knowledge -- you had knowledge that -- of what
  13    Jeffrey was doing behind closed doors with other
  14    girls.     Was that your testimony?
  15          A.     Based on what he had told me.
  16          Q.     Okay.   So Jeffrey told you things that he
  17    had done with other girls?
  18          A.     Yes.
  19          Q.     You did not observe any of those things?
  20          A.     No.
  21          Q.     You did not talk to any of those girls
  22    about what they had done with Jeffrey behind closed
  23    doors?
  24                 MS. McCAWLEY:      Objection.
  25




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                                                                   Page 148
   1    BY MS. MENNINGER:
   2          Q.     Correct?
   3          A.     No.   Correct.
   4          Q.     The only source of knowledge you have is
   5    based on what Jeffrey told you he had done with
   6    other girls?
   7          A.     Correct.
   8                 MS. McCAWLEY:      Objection.
   9    BY MS. MENNINGER:
  10          Q.     You said that there were possibly nude
  11    photos amongst the other photos that you saw on
  12    various walls at the Palm Beach house, correct?
  13          A.     Correct.
  14          Q.     None of them stood out to you?
  15          A.     Correct.
  16          Q.     None of them appeared pornographic?
  17          A.     No.
  18          Q.     You didn't see any fully frontally nude
  19    photographs, correct?
  20          A.     No, not that I recall.
  21          Q.     And you don't recall seeing any girls that
  22    appeared to be underaged, correct?
  23          A.     No.
  24          Q.     You said Ghislaine asked you to take
  25    photos of yourself for Jeffrey, correct?




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                                                                   Page 149
   1          A.     Correct.
   2          Q.     Did she ask you to take a nude photograph
   3    of yourself or just a photograph of yourself?
   4          A.     A nude photograph of myself.
   5          Q.     What exactly did she say to you?
   6          A.     I don't remember exactly, but I know that
   7    I never felt comfortable.         I would have felt fine
   8    taking photos of myself, my face, but I knew I was
   9    never comfortable with it because I had to take
  10    photos of my body.       And I also didn't know how to
  11    take a photo from standing behind.           You have to have
  12    someone else involved.
  13          Q.     That's my question.       How would you take a
  14    nude photograph of yourself?
  15          A.     Exactly.    Someone else would have to do
  16    it.
  17          Q.     Do you recall any of the particulars of
  18    what she said to you that led you to believe she
  19    wanted you to do that?
  20          A.     No, just asking for the photos.
  21          Q.     Do you know when in your time there?
  22          A.     It was near the beginning, because that's
  23    when I was interested in the photography.
  24          Q.     Was it in the context of your discussion
  25    of your photography class?




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                                                                   Page 150
   1          A.     No.
   2          Q.     Was it in the context of anything?
   3          A.     About the camera that she had bought for
   4    me.
   5          Q.     What did she say in relationship to the
   6    camera that she bought for you and taking
   7    photographs of you?
   8          A.     Just that Jeffrey would like to have some
   9    photos of me, and she asked me to take photos of
  10    myself.
  11          Q.     What did you say?
  12          A.     I don't remember saying no, but I never
  13    ended up following through.          I think I tried once.
  14          Q.     This was the pre-selfie era, correct?
  15          A.     Exactly.
  16          Q.     I want to go back to this:         You testified
  17    to two things just now with Sigrid that you said
  18    were implied to you.
  19          A.     Okay.
  20          Q.     The first one was it would take pressure
  21    off of Maxwell to have more girls around?
  22          A.     Right.
  23          Q.     What exactly did Maxwell say to you that
  24    led you to believe that was her implication?
  25          A.     She said she doesn't have the time or




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                                                                   Page 151
   1    desire to please him as much as he needs, and that's
   2    why there were other girls around.
   3          Q.     And did she refer specifically to any
   4    other girls?
   5          A.     No.
   6          Q.     Did she talk about underaged girls?
   7          A.     No.
   8          Q.     Was she talking about massage therapists?
   9          A.     Not specifically.
  10          Q.     Okay.   There were other girls in the house
  11    that were not massage therapists, correct?
  12          A.     Yes.
  13          Q.     Nadia is another person that was around,
  14    correct?
  15          A.     Yes.
  16          Q.     There were other people he traveled with?
  17          A.     Uh-huh.
  18                 MS. McCAWLEY:      Objection.
  19    BY MS. MENNINGER:
  20          Q.     Correct?
  21          A.     Correct.
  22          Q.     Other girls?
  23          A.     Yes.
  24          Q.     Adults?
  25          A.     Yes.




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                                                                   Page 152
   1          Q.     When I say "girl," I really mean women,
   2    correct?
   3          A.     Correct.
   4          Q.     There were other women around who hung out
   5    with Jeffrey, and you don't know what they did
   6    behind closed doors, correct?
   7          A.     Correct.
   8          Q.     So when you heard the implication that she
   9    wanted other girls around to take the pressure off
  10    of her sexually, in your mind that meant other adult
  11    women that he had in his life, correct?
  12                 MS. McCAWLEY:      Objection.
  13                 THE WITNESS:     Correct, doing what I was
  14          expected to do in a massage, you know.
  15    BY MS. MENNINGER:
  16          Q.     Ghislaine didn't have anything to do with
  17    you bringing this woman over for a physical workout
  18    with Jeffrey, correct?
  19          A.     Correct.
  20          Q.     She asked you to bring another girl to
  21    be -- to perform massages at the home?
  22          A.     Yes.   Well, she was always asking if I
  23    knew anyone else.       And so I brought this one girl
  24    that I didn't even know I worked with her at a
  25    restaurant.     So I didn't care what she thought of me




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                                                                   Page 153
   1    if anything happened.        And so -- but it never turned
   2    into anything.
   3          Q.     She was an adult?
   4          A.     She was an adult.
   5          Q.     Working at a restaurant with you?
   6          A.     Yes.
   7          Q.     What restaurant was that?
   8          A.     It's a restaurant that's closed.           It's
   9    called                                .
  10          Q.     You were asked about the famous people.
  11    You said you met Michael Jackson?
  12          A.     Yes.
  13          Q.     But you did not give him a massage?
  14          A.     No.
  15          Q.     There were other famous people, perhaps,
  16    who were around Jeffrey's home that you didn't meet,
  17    correct?
  18          A.     Correct.
  19          Q.     Do you know whether Virginia Roberts has
  20    told the truth about the age she was when she met
  21    Ghislaine Maxwell?
  22                 MS. McCAWLEY:      Objection.     Exceeds the
  23          scope of cross.
  24                 THE WITNESS:     I don't have any idea what
  25          she told them in terms of her age.




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                                                                   Page 154
   1    BY MS. MENNINGER:
   2          Q.      Do you know if Virginia Roberts is telling
   3    the truth about whether she spent her sweet 16th
   4    birthday with Jeffrey and Ghislaine Maxwell?
   5                  MS. McCAWLEY:     Objection.
   6                  THE WITNESS:    I don't know anything about
   7          that.
   8    BY MS. MENNINGER:
   9          Q.      Do you know whether Virginia Roberts is
  10    telling the truth about whether Ghislaine Maxwell
  11    sexually assaulted her on her first day on the job?
  12                 MS. McCAWLEY:      Objection.
  13                 THE WITNESS:     I have not knowledge of
  14          that.
  15    BY MS. MENNINGER:
  16          Q.     Do you have any knowledge of whether
  17    Virginia Roberts is telling the truth about
  18    Virginia -- excuse me -- about Ghislaine Maxwell
  19    forcing Virginia Roberts to "go down" on her?
  20                 MS. McCAWLEY:      Objection.
  21                 THE WITNESS:     No knowledge.
  22    BY MS. MENNINGER:
  23          Q.     Do you have any knowledge about whether
  24    Virginia Roberts is telling the truth about whether
  25    Ghislaine Maxwell forced her to participate in




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                                                                   Page 155
   1    orgies with other women?
   2                 MS. McCAWLEY:      Objection.
   3                 THE WITNESS:     No.
   4    BY MS. MENNINGER:
   5          Q.     Do you have any knowledge about whether
   6    Virginia Roberts is telling the truth about whether
   7    Ghislaine Maxwell directed her to have sex with
   8    Prince Andrew?
   9                 MS. McCAWLEY:      Objection.
  10                 THE WITNESS:     No.    Only based on what I've
  11          read in the media.
  12    BY MS. MENNINGER:
  13          Q.     And Alan Dershowitz?
  14                 MS. McCAWLEY:      Objection.
  15                 THE WITNESS:     The same.
  16    BY MS. MENNINGER:
  17          Q.     Prime ministers?
  18                 MS. McCAWLEY:      Objection.
  19                 THE WITNESS:     No.
  20    BY MS. MENNINGER:
  21          Q.     Do you have any knowledge about whether
  22    Virginia Roberts is telling the truth about foreign
  23    presidents?
  24                 MS. McCAWLEY:      Objection.
  25                 THE WITNESS:     No knowledge.




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                                                                   Page 156
   1    BY MS. MENNINGER:
   2          Q.     Do you know whether Virginia Roberts is
   3    telling the truth about Ghislaine Maxwell forcing
   4    her to participate in an orgy with Prince Andrew and
   5    other underaged girls on the island?
   6                 MS. McCAWLEY:      Objection.
   7                 THE WITNESS:     No knowledge.
   8    BY MS. MENNINGER:
   9          Q.     Did Ghislaine Maxwell ever ask you to have
  10    her baby?
  11                 MS. McCAWLEY:      Objection.
  12                 THE WITNESS:     No.
  13                 MS. MENNINGER:      No further questions.
  14                 MS. McCAWLEY:      Thank you for your time.
  15                 THE WITNESS:     We are done.
  16                 MS. McCAWLEY:      We are off the record.
  17                 THE VIDEOGRAPHER:       The time is 1:11.       This
  18          concludes the video deposition.           Off the
  19          record.
  20                 (Thereupon, the taking of the deposition
  21          was concluded at 1:11 p.m.)
  22
  23
  24
  25




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                                                                   Page 157
   1                                AFFIDAVIT
   2     STATE OF FLORIDA               )
         COUNTY OF                      )
   3
   4
                   I,                         , being first
   5          duly sworn, do hereby acknowledge that I did
              read a true and certified copy of my deposition
   6          which was taken in the case of GIUFFRE V.
              MAXWELL, taken on the 18th day of May, 2016,
   7          and the corrections I desire to make are as
              indicated on the attached Errata Sheet.
   8
   9                               CERTIFICATE
  10
  11    STATE OF FLORIDA                )
        COUNTY OF                       )
  12
  13
                   Before me personally appeared
  14          ________________________________________,
              to me well known / known to me to be the
  15          person described in and who executed the
              foregoing instrument and acknowledged to and
  16          before me that he executed the said instrument
              in the capacity and for the purpose therein
  17          expressed.
  18
  19               Witness my hand and official seal, this
              ______ day of ________________, _____.
  20
  21
  22                                     __________________________
                                                 (Notary Public)
  23
  24    My Commission Expires:
  25




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   1                             ERRATA SHEET
   2    PAGE     LINE           REMARKS
   3    ____________________________________________________
   4    ____________________________________________________
   5    ____________________________________________________
   6    ____________________________________________________
   7    ____________________________________________________
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  15    ____________________________________________________
  16    ____________________________________________________
  17    ____________________________________________________
  18    ____________________________________________________
  19    ____________________________________________________
  20    ____________________________________________________
  21                                     __________________________
  22                                       Signature of Witness
        ___________________________
  23    (Notary Public)
  24    Dated this _________ day of ___________, __________.
        MY Commission Expires: _____________
  25




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                                                                   Page 159
   1                         CERTIFICATE OF OATH
   2    STATE OF FLORIDA           )
   3    COUNTY OF MIAMI-DADE )
   4
   5                   I, the undersigned authority, certify
   6        that JOHANNA SJOBERG personally appeared before me
   7        and was duly sworn.
   8                   WITNESS my hand and official seal this
   9        18th day of May, 2016.
  10
  11
                               KELLI ANN WILLIS, RPR, CRR
  12                           Notary Public, State of Florida
                               My Commission No. FF911443
  13                           Expires: 2/16/21
  14               + + + + + + + + + + + + + + + + + +
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   1
   2                    C E R T I F I C A T E
   3    STATE OF FLORIDA           )
                                   : ss
   4    COUNTY OF MIAMI-DADE )
   5                  I, KELLI ANN WILLIS, a Registered
   6          Professional, Certified Realtime Reporter and
   7          Notary Public within and for The State of
   8          Florida, do hereby certify:
   9                  That JOHANNA SJOBERG, the witness whose
  10          deposition is hereinbefore set forth was duly
  11          sworn by me and that such Deposition is a true
  12          record of the testimony given by the witness.
  13                  I further certify that I am not related
  14          to any of the parties to this action by blood
  15          or marriage, and that I am in no way interested
  16          in the outcome of this matter.
  17                  IN WITNESS WHEREOF, I have hereunto set
  18          my hand this 18th day of May, 2016.
  19
  20                                   __________________________
                                       KELLI ANN WILLIS, RPR, CRR
  21
  22
  23
  24
  25




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